Appellate Case: 18-1173      Document: 010110215652     Date Filed: 08/20/2019    Page: 1
                                                                                  FILED
                                                                      United States Court of Appeals
                                       PUBLISH                                Tenth Circuit

                        UNITED STATES COURT OF APPEALS                      August 20, 2019

                                                                          Elisabeth A. Shumaker
                              FOR THE TENTH CIRCUIT                           Clerk of Court
                          _________________________________

  MICHEAL BACA; POLLY BACA;
  ROBERT NEMANICH,

        Plaintiffs - Appellants,

  v.                                                          No. 18-1173

  COLORADO DEPARTMENT OF
  STATE,

          Defendant - Appellee.
  ------------------------------

  INDEPENDENCE INSTITUTE;
  DAVID G. POST; DEREK T. MULLER;
  MICHAEL L. ROSIN; ROBERT M.
  HARDAWAY, Professor of Law,
  University of Denver Sturm College of
  Law; COLORADO REPUBLICAN
  COMMITTEE,

        Amici Curiae.
                          _________________________________

                      Appeal from the United States District Court
                              for the District of Colorado
                        (D.C. No. 1:17-CV-01937-WYD-NYW)
                        _________________________________

 Jason Harrow, Equal Citizens, Cambridge, Massachusetts (Jason B. Wesoky, Hamilton
 Defenders, Denver, Colorado, and Lawrence Lessig, Equal Citizens, Cambridge,
 Massachusetts, with him on the briefs), for Plaintiff – Appellants.

 Grant T. Sullivan, Assistant Solicitor General (Cynthia H. Coffman, Attorney General;
 Frederick R. Yarger, Solicitor General; LeeAnn Morrill, First Assistant Attorney
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019     Page: 2



 General; Matthew Grove, Assistant Solicitor General, with him on the brief), for
 Appellee Colorado Department of State, Denver, Colorado.

 Michael Donofrio, Donofrio Asay PLC, Montpelier, Vermont, and Aaron Solomon, Hale
 Westfall, LLP, Denver, Colorado, filed an amicus brief on behalf of Michael L. Rosin
 and David G. Post.

 David B. Kopel, Independence Institute, Denver, Colorado, filed an amicus brief on
 behalf of Independence Institute.

 Michael Francisco, Statecraft, PLLC, Colorado Springs, Colorado, and Derek T. Muller,
 Associate Professor of Law, Pepperdine University Law School, Malibu, California, filed
 an amicus brief on behalf of Derek T. Muller.

 Jeffrey S. Hurd, Bernard A. Buescher, William A. Hobbs, Ireland Stapleton Pryor &
 Pascoe, P.C., Denver, Colorado, and Robert M. Hardaway, Professor of Law, University
 of Denver, Sturm College of Law, Denver, Colorado, filed an amicus brief on behalf of
 Robert M. Hardaway.

 Christopher O. Murray, Brownstein Hyatt Farber Schreck, LLP, Denver, Colorado, filed
 an amicus brief on behalf of Colorado Republican Committee.
                         _________________________________

 Before BRISCOE, HOLMES, and McHUGH, Circuit Judges.
                   _________________________________

 McHUGH, Circuit Judge.
                     _________________________________




                                            ii
Appellate Case: 18-1173           Document: 010110215652       Date Filed: 08/20/2019   Page: 3



                                        TABLE OF CONTENTS
       I.        INTRODUCTION                                                               1

       II.       BACKGROUND                                                                 2

       A.        Legal Background                                                           2

       B.        Factual History                                                            4

       C.        Procedural History                                                         7

       III. DISCUSSION PART ONE: STANDING                                                   9

       A.        Standard of Review and Burden of Proof                                    10

       B.        Political Subdivision Standing Doctrine                                   10

            1.        Legal Background                                                     11

            2.        Application                                                          11

       C.        General Standing Principles                                               15

            1.        Injury in Fact                                                       16

                 a.      Personal versus official interest                                 17

                 b.      Prospective versus retrospective relief                           18

                      i. Legal background                                                  18

                      ii. Application                                                      21

                        1) Prospective relief                                              22

                        2) Retrospective relief                                            24

                          a) Mr. Baca’s removal from office and referral for prosecution 27

                          b) Threats against Ms. Baca and Mr. Nemanich                     30

                 c.      Legislator standing                                               34

                      i. Legal background                                                  34

                      ii. Application                                                      40


                                                   iii
Appellate Case: 18-1173           Document: 010110215652           Date Filed: 08/20/2019   Page: 4



            2.        Traceability and Redressability                                          43

       IV. DISCUSSION PART TWO: MOOTNESS                                                       45

       V.        DISCUSSION PART THREE: FAILURE TO STATE A CLAIM                               56

       A.        Standard of Review                                                            57

       B.        “Person” Under § 1983                                                         57

       C.        Constitutional Violation                                                      61

            1.        The Federal Constitution                                                 63

            2.        Legal Precedent                                                          66

            3.        Framing the Question                                                     72

                 a.      Supremacy clause                                                      73

                 b.      Tenth Amendment                                                       76

            4.        Constitutional Text                                                      78

                 a.      Appointment power                                                     78

                 b.      Article II and the Twelfth Amendment                                  83

                      i. Role of the states after appointment                                  84

                      ii. Use of “elector,” “vote,” and “ballot”                               87

                        1) Contemporaneous dictionary definitions                              87

                        2) Use of “elector” in the Constitution                                91

            5.        Enactment of the Twelfth Amendment                                       94

            6.        Historical Practices                                                     98

                 a.      Elector pledges                                                       99

                 b.      Short-form ballots                                                  101

            7.        Authoritative Sources                                                  105

       VI. CONCLUSION                                                                        114


                                                   iv
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019       Page: 5



                                I.    INTRODUCTION

       Micheal Baca, Polly Baca, and Robert Nemanich (collectively, the Presidential

 Electors) were appointed as three of Colorado’s nine presidential electors for the

 2016 general election. Colorado law requires the state’s presidential electors to cast

 their votes for the winner of the popular vote in the state for President and Vice

 President. Although Colorado law required the Presidential Electors to cast their

 votes for Hillary Clinton, Mr. Baca cast his vote for John Kasich. In response,

 Colorado’s Secretary of State removed Mr. Baca as an elector and discarded his vote.

 The state then replaced Mr. Baca with an elector who cast her vote for Hillary

 Clinton. After witnessing Mr. Baca’s removal from office, Ms. Baca and

 Mr. Nemanich voted for Hillary Clinton despite their desire to vote for John Kasich.

       After the vote, the Presidential Electors sued the Colorado Department of State

 (the Department), alleging a violation of 42 U.S.C. § 1983. The Department moved to

 dismiss the complaint. The district court granted the motion, concluding the

 Presidential Electors lacked standing, and, in the alternative, the Presidential Electors

 had failed to state a claim upon which relief could be granted. The Presidential

 Electors now appeal.

       We conclude Mr. Baca has standing to challenge his personal injury—removal

 from office and cancellation of his vote—but that none of the Presidential Electors

 have standing to challenge the institutional injury—a general diminution of their

 power as electors. Therefore, we AFFIRM the district court’s dismissal of Ms. Baca’s




                                             1
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019     Page: 6



 and Mr. Nemanich’s claims under rule 12(b)(1) for lack of standing but REVERSE

 the district court’s standing determination as to Mr. Baca.

       On the merits of Mr. Baca’s claim, we conclude the state’s removal of

 Mr. Baca and nullification of his vote were unconstitutional. As a result, Mr. Baca

 has stated a claim upon which relief can be granted, and we REVERSE the district

 court’s dismissal of his claim under rule 12(b)(6). We therefore REMAND to the

 district court for further proceedings consistent with this opinion.

                                 II.    BACKGROUND

       This opinion is divided in three parts. Our analysis begins, as it must, with our

 power to decide the issues raised by the parties. Thus, the first part of this opinion

 considers the standing of each of the Presidential Electors with respect to each of

 their claims for relief. After concluding that only Mr. Baca has standing, we next

 consider whether this case is moot. Because we conclude this case is not moot, we

 turn to the final part of our analysis: whether the state acted unconstitutionally in

 removing Mr. Baca from office, striking his vote for President, and preventing him

 from casting a vote for Vice President. But before we tackle these separate parts of

 the analysis, we place our discussion in context by providing a brief legal background

 and then setting forth a more detailed factual and procedural history.

                                A.     Legal Background

       The United States Constitution provides that “[e]ach State shall appoint, in

 such Manner as the Legislature thereof may direct, a Number of Electors, equal to the

 whole Number of Senators and Representatives to which the State may be entitled in


                                             2
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 7



 the Congress.” U.S. Const. art. II, § 1, cl. 2. These presidential electors convene in

 their respective states and “vote by [distinct] ballot for President and

 Vice-President.” Id. amend. XII. The candidates receiving votes for President or Vice

 President constituting a majority of the electors appointed are elected to those

 respective offices. Id.

        Colorado’s presidential electors are appointed through the state’s general

 election. Colo. Rev. Stat. § 1-4-301. Nominees for presidential electors are selected

 at political party conventions or selected by unaffiliated presidential or vice

 presidential candidates. Id. §§ 1-4-302, -303. After being appointed, the presidential

 electors are required to convene on a specified day to take an oath required by state

 law and then to cast their ballots for President and Vice President. Id. § 1-4-304(1).

 Colorado requires the presidential electors to “vote for the presidential candidate,

 and, by separate ballot, vice-presidential candidate who received the highest number

 of votes at the preceding general election in this state.” Id. § 1-4-304(5).

        If there is a vacancy “in the office of presidential elector because of death,

 refusal to act, absence, or other cause, the presidential electors present shall

 immediately proceed to fill the vacancy in the electoral college.” Id. § 1-4-304(1).

 After all vacancies are filled, the presidential electors “proceed to perform the duties

 required of them by the constitution and laws of the United States.” Id. A presidential

 elector who attends and votes at the required time and place receives $5 per day of

 attendance plus mileage reimbursement at $0.15 per mile. Id. § 1-4-305.




                                             3
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019     Page: 8



                                 B.     Factual History

       In April 2016, Mr. Baca, Ms. Baca, and Mr. Nemanich were nominated as

 three of the Colorado Democratic Party’s presidential electors and, after Hillary

 Clinton and Tim Kaine won the popular vote in Colorado, were appointed as

 presidential electors for the state.1 Concerned about allegations of foreign

 interference in the election, Mr. Nemanich contacted Colorado’s Secretary of State,

 Wayne Williams, to ask what would happen if a Colorado elector did not vote for

 Hillary Clinton and Tim Kaine. Secretary Williams responded that “his ‘office would

 likely remove the elector and seat a replacement elector until all nine electoral votes

 were cast for the winning candidates.’” App. at 15. Secretary Williams also warned

 that the elector would likely face perjury charges.

       In response, Ms. Baca and Mr. Nemanich filed a complaint in the United

 States District Court for the District of Colorado on December 6, 2016, seeking to

 enjoin the Secretary from enforcing § 1-4-304(5) on the ground it violated Article II

 and the Twelfth Amendment to the U.S. Constitution. The district court denied the

 request for an injunction in an oral ruling on December 12, 2016. Baca v.

 Hickenlooper, No. 16-cv-02986-WYD-NYW, 2016 WL 7384286, at *1 (D. Colo.

 Dec. 21, 2016). Ms. Baca and Mr. Nemanich then sought an emergency injunction

 pending appeal, which we denied. Order at 1, Baca v. Hickenlooper (Baca I), No.


       1
        At oral argument, the Department claimed Mr. Baca had not been officially
 appointed. In a post-argument letter to this court, the Department corrected this
 statement and acknowledged that Mr. Baca’s appointment had been finalized.


                                            4
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019    Page: 9



 16-1482 (10th Cir. Dec. 16, 2016).2 In doing so, we criticized Ms. Baca and

 Mr. Nemanich for failing to point to any language in Article II or the Twelfth

 Amendment to support their position. Id. at 10. But we also noted that “[t]his is not to

 say that there is no language in Article II or the Twelfth Amendment that might

 ultimately support plaintiffs’ position.” Id. at 10 n.3. To the contrary, we predicted in

 a footnote that an attempt by the state to remove an elector after voting had begun

 was “unlikely in light of the text of the Twelfth Amendment.” Id. at 12 n.4. At that

 stage of the proceedings, however, we concluded the Presidential Electors had

 “raise[d] at best a debatable argument” and therefore had not met their burden of

 showing a substantial likelihood of success on the merits. Id. at 10–11. We

 consequently held they were not entitled to an injunction pending appeal. Id. at 15.

       In an overlapping lawsuit, Secretary Williams sued Ms. Baca and

 Mr. Nemanich in Colorado state court, seeking guidance on Colorado’s law regarding

 succession of presidential electors. The state district court determined that a

 presidential elector’s failure to vote for Hillary Clinton and Tim Kaine, as required

 by § 1-4-304(5), is a “refusal to act” under § 1-4-304(1), and therefore “causes a


       2
          Typically a motion to dismiss under rule 12(b)(6) must rest on the contents of
 the complaint alone. Gee v. Pacheco, 627 F.3d 1178, 1186 (10th Cir. 2010). But there
 is an exception for “matters of which a court may take judicial notice.” Id. (quoting
 Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)). “[W]e may
 exercise our discretion to take judicial notice of publicly-filed records in our courts
 and certain other courts concerning matters that bear directly upon the disposition of
 the case at hand.” United States v. Ahidley, 486 F.3d 1184, 1192 n.5 (10th Cir. 2007).
 We therefore consider the decision in Baca I and the related state court cases in
 setting forth the relevant background here.


                                             5
Appellate Case: 18-1173     Document: 010110215652          Date Filed: 08/20/2019     Page: 10



  vacancy in the electoral college.” App. at 35. The court further decided that any

  “vacancy in the electoral college shall be immediately filled by a majority vote of the

  presidential electors present.” Id. The Colorado Supreme Court declined a petition

  for immediate review of that order.3

         On December 19, 2016, the Colorado electors met to cast their votes. Before

  voting commenced, Secretary Williams required the electors to take a revised oath

  that affirmed they would vote consistently with the results of the state’s popular

  election. Secretary Williams also warned that any elector who violated the oath may

  be subject to felony perjury charges. Despite taking the oath, Mr. Baca crossed out

  “Hillary Clinton” from his presidential ballot and wrote in “John Kasich.” Secretary

  Williams then removed Mr. Baca as an elector, refused to count his vote, and

  replaced him with a substitute elector who cast a vote for Hillary Clinton. After this

  series of events, Ms. Baca and Mr. Nemanich “felt intimidated and pressured to vote

  against their determined judgment” and cast votes for Hillary Clinton and Tim Kaine.

  Id. at 17. Mr. Baca attempted to vote for Tim Kaine as Vice President, but the




         3
           The Presidential Electors have not briefed to this court any argument
  concerning the constitutionality of § 1-4-304(1). Consequently, we do not consider
  that issue separately. See Reedy v. Werholtz, 660 F.3d 1270, 1274 (10th Cir. 2011)
  (determining issues not raised in opening brief on appeal were waived). But if the
  Constitution does not allow states to directly remove an elector after voting has
  commenced, they cannot do so indirectly by statute. Cf. U.S. Term Limits, Inc. v.
  Thornton, 514 U.S. 779, 829 (1995) (rejecting indirect infringement on constitutional
  protection); Harman v. Forssenius, 380 U.S. 528, 540 (1965) (“Constitutional rights
  would be of little value if they could be . . . indirectly denied.” (alteration in original)
  (quoting Smith v. Allwright, 321 U.S. 649, 664 (1944)).

                                               6
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019      Page: 11



  Secretary refused to count his vote. Secretary Williams then referred Mr. Baca to the

  Colorado Attorney General for criminal investigation.

                                 C.     Procedural History

        Ms. Baca and Mr. Nemanich voluntarily dismissed their prior case and filed a

  new complaint, later joined by Mr. Baca, that is the subject of this appeal. The

  Presidential Electors’ Second Amended Complaint asserts a single cause of action

  under 42 U.S.C. § 1983, alleging a violation of their constitutional rights under

  Article II and the Twelfth Amendment. The Presidential Electors seek relief in the

  form of a judgment (1) finding the Department violated their federally protected

  rights, (2) declaring § 1-4-304(5) unconstitutional, and (3) awarding nominal

  damages.4

        The Department filed a motion to dismiss the Second Amended Complaint

  under Federal Rule of Civil Procedure 12(b)(1) for lack of standing and under

  Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim. The district

  court granted the motion to dismiss on both grounds. First, the district court decided

  the Presidential Electors lacked standing based on the political subdivision standing

  doctrine. Second, and in the alternative, the district court concluded the Presidential

  Electors failed to state a claim upon which relief could be granted because the United

  States Constitution does not prohibit states from binding electors to vote for the


        4
          By stipulation, the Department waived any claim to immunity, the
  Presidential Electors relinquished any claims under 52 U.S.C. §§ 10101, 20510, the
  Presidential Electors limited their damage claim to nominal damages, and all parties
  waived the right to recover attorney fees.

                                             7
Appellate Case: 18-1173     Document: 010110215652          Date Filed: 08/20/2019   Page: 12



  candidate who wins the state’s popular vote. The Presidential Electors filed a timely

  notice of appeal, and we have jurisdiction under 28 U.S.C. § 1291 to consider the

  appeal.

          After oral argument in this case, we asked the parties to provide supplemental

  briefing to address two questions:

          1. Whether Will v. Michigan Dept. of State Police, 491 U.S. 58 (1989),
          and/or Arizonans for Official English v. Arizona, 520 U.S. 43 (1997):

                (a) impact(s) the district court’s jurisdiction to entertain this
                action; or

                (b) render(s) this case moot by preventing the district court from
                awarding nominal damages.

          2. Whether this court, assuming jurisdiction, should exercise our
          discretion to affirm the district court on the alternate ground that the
          plaintiffs have failed to state a claim upon which relief can be granted
          because the defendant—the Colorado Department of State—is not a
          “person” for purposes of liability under 42 U.S.C. § 1983.

  Order at 1–2 (July 3, 2019).

          The parties filed a joint supplemental response brief acknowledging that the

  Department is not a “person” for purposes of § 1983. But the parties contend this

  court’s jurisdiction is unaffected. And the Department, “for purposes of this case

  only, . . . expressly waive[d] the argument that it is not a ‘person’ under § 1983,”

  ostensibly paving the way for the court “to proceed directly to the important issues

  discussed extensively in the primary briefing.” Joint Resp. to Suppl. Briefing Order

  at 1.




                                               8
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 13



         Our discussion of the jurisdictional and merits issues raised in this appeal will

  proceed in three parts. In Part One, we address whether the Presidential Electors have

  standing to pursue their claims. Concluding that only Mr. Baca has standing in this

  case, we proceed to Part Two, in which we discuss whether this case is moot because

  the Department is not a person under § 1983. Finally, in Part Three, we analyze

  whether the district court correctly dismissed Mr. Baca’s claim under rule 12(b)(6).

                     III.   DISCUSSION PART ONE: STANDING

         We turn now to the district court’s holding that the Presidential Electors lack

  standing, thereby depriving the district court, and in turn this court, of jurisdiction.

  First, we set out the applicable standard of review and the burden of proof. Next, we

  consider the district court’s holding that the Presidential Electors lack standing under

  the political subdivision standing doctrine. Concluding that doctrine is not applicable

  here, we turn to whether any of the Presidential Electors can satisfy the general

  standing requirements of injury in fact, traceability, and redressability. Ultimately,

  we conclude that only Mr. Baca has satisfied the injury-in-fact prong of Article III

  standing. In reaching this conclusion, we reject Ms. Baca’s and Mr. Nemanich’s

  argument that they fall within a unique rule of legislative standing announced by the

  Supreme Court in Coleman v. Miller, 307 U.S. 433 (1939). Instead, only Mr. Baca

  has asserted a legislative injury. Accordingly, we consider the remaining standing

  factors—traceability and redressability—only as to Mr. Baca. Because Mr. Baca has

  satisfied all three prongs of traditional standing, we proceed to the merits of his




                                               9
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 14



  claim. But we affirm the district court’s dismissal of Ms. Baca’s and Mr. Nemanich’s

  claims under Rule 12(b)(1) for lack of standing.

                      A.     Standard of Review and Burden of Proof

        We review de novo a district court’s dismissal for lack of jurisdiction under

  Federal Rule of Civil Procedure 12(b)(1). Holt v. United States, 46 F.3d 1000, 1003

  (10th Cir. 1995). A motion under rule 12(b)(1) can be made on the ground that the

  plaintiff lacks standing and therefore the court lacks subject matter jurisdiction.

  Citizens for Responsible Gov’t State Political Action Comm. v. Davidson, 236 F.3d

  1174, 1188–89 (10th Cir. 2000). “The party invoking federal jurisdiction has the

  burden to establish that it is proper, and there is a presumption against its existence.”

  Salzer v. SSM Health Care of Okla. Inc., 762 F.3d 1130, 1134 (10th Cir. 2014)

  (internal quotation marks omitted).5

                       B.     Political Subdivision Standing Doctrine

        In reaching its conclusion that the Presidential Electors lack standing, the

  district court relied on the political subdivision standing doctrine. We first elucidate

  the legal underpinnings of this doctrine and then explain why it is inapplicable here.




        5
           The Presidential Electors argue that this court decided the standing issue in
  Baca I. But Baca I determined standing “given the preliminary record before us,” and
  only “[a]t this stage of the proceedings.” Order at 7, Baca I, No. 16-1482. And,
  importantly, in Baca I, Mr. Nemanich and Ms. Baca were seeking only prospective
  relief while they were under a direct threat of enforcement. Therefore, we agree with
  the district court that we must visit the standing question anew in this case as to each
  elector and as to each claim for relief.

                                             10
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019    Page: 15



  1.    Legal Background

        “Under the doctrine of political subdivision standing, federal courts lack

  jurisdiction over certain controversies between political subdivisions and their parent

  states.” City of Hugo v. Nichols, 656 F.3d 1251, 1255 (10th Cir. 2011). This doctrine

  traces back to at least City of Trenton v. New Jersey, in which the Supreme Court

  recognized that “municipalities have no inherent right of self-government which is

  beyond the legislative control of the state.” 262 U.S. 182, 187 (1923). “[P]olitical

  subdivisions are created by the state merely for convenience of administration.” City

  of Hugo, 656 F.3d at 1255; see also City of Trenton, 262 U.S. at 185–86 (“The city is

  a political subdivision of the state, created as a convenient agency for the exercise of

  such of the governmental powers of the state as may be intrusted to it.”). Therefore,

  “[a] municipality is merely a department of the state, and the state may withhold,

  grant or withdraw powers and privileges as it sees fit. However great or small its

  sphere of action, it remains the creature of the state exercising and holding powers

  and privileges subject to the sovereign will.” City of Trenton, 262 U.S. at 187. Thus,

  “[a] municipal corporation, created by a state for the better ordering of government,

  has no privileges or immunities under the Federal Constitution which it may invoke

  in opposition to the will of its creator.” Williams v. Mayor & City Council of

  Baltimore, 289 U.S. 36, 40 (1933).

  2.    Application

        According to the district court, the political subdivision standing doctrine

  applies to both political subdivisions and to state officials. Because the district court


                                              11
Appellate Case: 18-1173     Document: 010110215652          Date Filed: 08/20/2019     Page: 16



  concluded presidential electors are state officials, it also concluded the political

  subdivision standing doctrine barred the Presidential Electors’ standing. The

  Presidential Electors disagree and argue that presidential electors are not state

  officials because the “state is not the ‘creator’ of the office of presidential elector”;

  rather, “the office is created by the federal Constitution.” Presidential Electors’ Br. at

  17. Thus, they contend the political subdivision doctrine does not preclude standing

  here. In response, the Department asserts that even if the electors are not “political

  subdivisions,” they lack standing because they are state officials and the doctrine

  “applies not only to artificial political subdivisions, such as municipalities, but also

  to state officers who attempt to sue the State to challenge state law.” Dep’t’s Br. at

  24. The Presidential Electors have the better side of this argument.

         Presidential electors are not political subdivisions or municipalities created by

  the state. The position of presidential elector is established by the federal

  Constitution. See U.S. Const. art. II, § 1, cl. 2. And although presidential electors are

  not federal officials, they exercise a federal function. See Ray v. Blair, 343 U.S. 214,

  224 (1952) (“The presidential electors exercise a federal function in balloting for

  President and Vice-President but they are not federal officers or agents any more than

  the state elector who votes for congressmen.”). Even if that were not the case, the

  political subdivision standing doctrine does not apply to state officials. A suit against

  a state official in his or her official capacity is “no different from a suit against the

  State itself.” Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989). If a state




                                              12
Appellate Case: 18-1173      Document: 010110215652           Date Filed: 08/20/2019     Page: 17



  official is acting as the “State itself,” then the state official is not a political

  subdivision or municipality with a “parent state.”

         The Department challenges this conclusion, relying on decisions it claims

  support application of the political subdivision standing doctrine to state officers. But

  our review of these cases reveals they do not stand for that proposition. Instead, they

  discuss two different justiciability concerns.6

         The first concern, discussed in more detail below, is the general proposition

  that a state official has standing to pursue only a personal, rather than an official,

  interest. The Supreme Court has long required “the interest of an appellant in this

  court [to] be a personal, and not an official, interest.” Smith v. Indiana, 191 U.S. 138,

  149 (1903). Almost every case the Department cites applies this personal interest

  principle, rather than the political subdivision standing doctrine. See Columbus &

  Greenville Ry. v. Miller, 283 U.S. 96, 100 (1931) (“The [Fourteenth Amendment]

  guaranty does not extend to the mere interest of an official, as such, who has not been

  deprived his property without due process of law or denied the equal protection of the

  laws.”); Donelon v. La. Div. of Admin. Law ex rel. Wise, 522 F.3d 564, 566 (5th Cir.

  2008) (“The Supreme Court has held that state officials lack standing to challenge the



         6
          The Department also claims a footnote in our decision, City of Hugo v.
  Nichols, 656 F.3d 1251, 1255 n.3 (10th Cir. 2011), confirms that the political
  subdivision standing doctrine applies to state officials suing the state. But the
  footnote actually explains that the principle that a political subdivision cannot sue the
  state “applies equally to state officials in their official capacities”—i.e., that political
  subdivisions cannot sue state officials in their official capacities. City of Hugo, 656
  F.3d at 1255 n.3 (citing Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989)).

                                                13
Appellate Case: 18-1173      Document: 010110215652          Date Filed: 08/20/2019     Page: 18



  constitutional validity of a state statute when they are not adversely affected by the

  statute, and their interest in the litigation is official, rather than personal.”); Finch v.

  Miss. State Med. Ass’n, Inc., 585 F.2d 765, 774 (5th Cir. 1978) (“The mental

  disposition of the Governor [believing a state statute is in violation of the federal

  Constitution] is all that gives him cause to complain; were he to change his mind

  tomorrow and decide, rightly or wrongly, that the statute is valid, he would no longer

  have any interest in the case. He has no personal stake in the outcome of this case; he

  will not be affected favorably by a decision that the statute is unconstitutional nor

  adversely by a decision that it is valid.”). And the one case that does not turn on the

  nature of a state official’s interest properly applies the doctrine to a political

  subdivision of the state. See Cooke v. Hickenlooper, No. 13-cv-01300-MSK-MJW,

  2013 WL 6384218, at *10 (D. Colo. Nov. 27, 2013) (applying the political

  subdivision standing doctrine to an official capacity suit by a county sheriff because

  “a county in Colorado is undisputedly a political subdivision of the State of

  Colorado” and therefore “an official capacity claim asserted by a county Sheriff’s

  Office is a claim asserted by a political subdivision of the State”).

         As to the second justiciability concern, one of the Department’s authorities

  concludes that jurisdiction is lacking where “state agencies [are] so closely identified

  with the state government, and so thoroughly controlled by the body they are suing[,]

  that the litigation amounts to a suit by the state against itself.” Donelon, 522 F.3d at

  567–68 (quoting Rogers v. Brockette, 588 F.2d 1057, 1065 (5th Cir. 1979)). In such

  circumstances, the “state is essentially suing itself,” and “there is no ‘case or


                                               14
Appellate Case: 18-1173      Document: 010110215652        Date Filed: 08/20/2019     Page: 19



  controversy.’” Id. at 568 (quoting Rogers, 588 F.2d at 1065). Here, neither party

  alleges the Presidential Electors are so closely identified with the State of Colorado

  that the action is essentially the state suing itself.

         The political subdivision standing doctrine has no relevance here because

  presidential electors are not municipalities or subdivisions of the state. And we need

  not resolve the parties’ dispute over whether the Presidential Electors were state

  officials because, even if they were, the political subdivision standing doctrine does

  not apply to state officials. In contrast, the personal interest standing requirement,

  highlighted by the Department’s decisions, is applicable to any official—municipal,

  state, or federal. See Raines v. Byrd, 521 U.S. 811, 821 (1997) (applying the personal

  interest requirement to members of Congress); Thomas v. Mundell, 572 F.3d 756,

  760–61 (9th Cir. 2009) (applying personal interest requirement to county official).

         Thus, we turn now to general legal principles to determine whether the

  Presidential Electors have standing. This analysis necessarily includes review of

  whether the alleged injury is to a personal or official interest.

                              C.     General Standing Principles

         To satisfy Article III standing, the Presidential Electors must show an injury in

  fact, fairly traceable to the challenged action, that is redressable by the relief sought.

  Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149 (2010). In considering

  whether standing exists, we focus individually on each plaintiff and on each claim for

  relief asserted. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528




                                               15
Appellate Case: 18-1173       Document: 010110215652      Date Filed: 08/20/2019     Page: 20



  U.S. 167, 185 (2000) (“[A] plaintiff must demonstrate standing separately for each

  form of relief sought.”).

  1.    Injury in Fact

        An injury satisfies the Article III standing requirement only if the injury is

  “‘concrete and particularized’ and ‘actual or imminent, not “conjectural” or

  “hypothetical.”’” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)

  (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). This

  injury-in-fact requirement “helps to ensure that the plaintiff has a ‘personal stake in

  the outcome of the controversy.’” Id. (quoting Warth v. Seldin, 422 U.S. 490, 498

  (1975)). Therefore, “a plaintiff’s complaint must establish that he has a ‘personal

  stake’ in the alleged dispute, and that the alleged injury suffered is particularized as

  to him.” Raines, 521 U.S. at 819; see also id. at 818 (requiring a plaintiff to “allege

  personal injury fairly traceable to the defendant’s allegedly unlawful conduct and

  likely to be redressed by the requested relief” (quoting Allen v. Wright, 468 U.S. 737,

  751 (1984))). “[A] dispute solely about the meaning of the law, abstracted from any

  concrete actual or threatened harm, falls outside the scope of the constitutional words

  ‘Cases’ and ‘Controversies.’” Alvarez v. Smith, 558 U.S. 87, 93 (2009).

        Here, there are three considerations that inform our analysis of the

  injury-in-fact requirement: (1) whether the Presidential Electors’ interest is personal

  or official in nature; (2) whether the Presidential Electors seek prospective or

  retrospective relief; and (3) whether the Presidential Electors have standing as

  legislators. We address each of these concepts in turn.


                                             16
Appellate Case: 18-1173      Document: 010110215652         Date Filed: 08/20/2019      Page: 21



         a.     Personal versus official interest

         “The party raising the question of constitutionality and invoking our

  jurisdiction must be interested in, and affected adversely by, the act, and the interest

  must by, the decision of the state court be of a personal, and not of an official,

  nature.” Braxton Cty. Court v. West Virginia, 208 U.S. 192, 197 (1908); see also

  Smith, 191 U.S. at 149 (“[T]he interest of an appellant in this court [must] be a

  personal, and not an official, interest . . . .”); Ashwander v. Tenn. Valley Auth., 297

  U.S. 288, 348 (1936) (Brandeis, J., concurring) (“[T]he challenge by a public official

  interested only in the performance of his official duty will not be entertained.”). A

  plaintiff is asserting an official, rather than personal, injury if the injury alleged is not

  based upon something to which the plaintiff is personally entitled but instead based

  upon the plaintiff’s entitlement in his or her official role. Raines, 521 U.S. at 821. An

  official has no personal interest when he has “certain duties as a public officer to

  perform” and “[t]he performance of those duties was of no personal benefit to him,”

  and “[t]heir nonperformance was equally so.” Smith, 191 U.S. at 149.

         “[A] public official’s ‘personal dilemma’ in performing official duties that he

  perceives to be unconstitutional does not generate standing.” Thomas, 572 F.3d at

  761 (quoting City of S. Lake Tahoe v. Cal. Tahoe Reg’l Planning Agency, 625 F.2d

  231, 237 (9th Cir. 1980)). And the “loss of . . . institutional power” is “not the loss of

  any private right” as it “run[s] with the office.” Id. at 762; see also Donelon, 522

  F.3d at 568 (determining official has no “personal stake” in the litigation where “he




                                               17
Appellate Case: 18-1173      Document: 010110215652       Date Filed: 08/20/2019    Page: 22



  seeks to exercise what he believes are the full extent of his official powers under

  federal and state law”).

         Whether the Presidential Electors have asserted a personal or official injury is

  inextricably intertwined with the question of whether the Presidential Electors have

  asserted an injury sufficient to support prospective or retrospective relief. Thus, we

  apply the personal injury requirement to the present facts, together with our

  application of the limitations on the Presidential Electors’ ability to seek prospective

  or retrospective relief, which we now explain.

         b.     Prospective versus retrospective relief

         As noted, standing is affected by the nature of the relief sought. Thus, we must

  determine the type of relief requested and whether the Presidential Electors can assert

  that claim. We begin with a discussion of the relevant law and then we apply those

  legal principles to the present facts.

                i.     Legal background

         A plaintiff’s “standing for retrospective relief may be based on past injuries,

  whereas . . . claims for prospective relief require a continuing injury.” PeTA, People

  for the Ethical Treatment of Animals v. Rasmussen, 298 F.3d 1198, 1202 (10th Cir.

  2002); see also City of Los Angeles v. Lyons, 461 U.S. 95, 109–10 (1983)

  (recognizing a plaintiff’s standing to seek damages but not injunctive relief). To

  obtain prospective relief, a plaintiff must show a credible threat of future harm. See

  Ward v. Utah, 321 F.3d 1263, 1267–69 (10th Cir. 2003). “[W]hile a plaintiff who has

  been constitutionally injured can bring a § 1983 action to recover damages


                                              18
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019        Page: 23



  [retrospective relief], that same plaintiff cannot maintain a declaratory or injunctive

  action [prospective relief] unless he or she can demonstrate a good chance of being

  likewise injured in the future.” Facio v. Jones, 929 F.2d 541, 544 (10th Cir. 1991).

        Although an injury must usually be imminent, a plaintiff need not wait for the

  harm to occur before seeking redress. Babbitt v. United Farm Workers Nat’l Union,

  442 U.S. 289, 298 (1979). Instead, “[a]n allegation of future injury may suffice if the

  threatened injury is ‘certainly impending,’ or there is a ‘“substantial risk” that the

  harm will occur.’” Susan B. Anthony List, 573 U.S. at 158 (quoting Clapper v.

  Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013)). But “a plaintiff must demonstrate

  standing separately for each form of relief sought.” Friends of the Earth, 528 U.S. at

  185. Thus, where both prospective and retrospective relief are requested, standing for

  each must be separately established.

        In certain circumstances, a plaintiff can maintain a pre-enforcement suit for

  declaratory or injunctive relief “challeng[ing] a statute that he claims deters the

  exercise of his constitutional rights” without “first expos[ing] himself to actual arrest

  or prosecution.” Steffel v. Thompson, 415 U.S. 452, 459 (1974). And even when “the

  plaintiff ha[s] eliminated the imminent threat of harm by simply not doing what he

  claimed the right to do,” standing is not precluded “because the threat-eliminating

  behavior was effectively coerced.” MedImmune, Inc. v. Genetech, Inc., 549 U.S. 118,

  129 (2007). “The dilemma posed by that coercion—putting the challenger to the

  choice between abandoning his rights or risking prosecution—is ‘a dilemma that it




                                             19
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019    Page: 24



  was the very purpose of the Declaratory Judgment Act to ameliorate.’” Id. (quoting

  Abbott Labs. v. Gardner, 387 U.S. 136, 152 (1967)).

         Therefore, “[w]hen an individual is subject to [a threat of enforcement], an

  actual arrest, prosecution, or other enforcement action is not a prerequisite to

  challenging the law.” Susan B. Anthony List, 573 U.S. at 158. Pre-enforcement

  review is permitted so long as the circumstances “render the threatened enforcement

  sufficiently imminent.” Id. at 159. “[A] plaintiff satisfies the injury-in-fact

  requirement where he alleges ‘an intention to engage in a course of conduct arguably

  affected with a constitutional interest but proscribed by a statute, and there exists a

  credible threat of prosecution thereunder.’” Id. (quoting Babbitt, 442 U.S. at 298).

         This requirement applies even when the law at issue has been enforced against

  the plaintiff in the past. See Dias v. City & Cty. of Denver, 567 F.3d 1169, 1176 (10th

  Cir. 2009); see also D.L.S. v. Utah, 374 F.3d 971, 975 (10th Cir. 2004)

  (“[A]ssurances from prosecutors that they do not intend to bring charges are

  sufficient to defeat standing, even when the individual plaintiff ha[s] actually been

  charged or directly threatened with prosecution for the same conduct in the past.”);

  PeTA, 298 F.3d at 1202–03. “Past exposure to illegal conduct does not itself show a

  present case or controversy regarding injunctive relief . . . if unaccompanied by any

  continuing, present, adverse effects.” O’Shea v. Littleton, 414 U.S. 488, 495–96

  (1974). But a plaintiff seeking future relief from a law enforced against him or her in

  the past can establish the necessary injury in fact by either meeting the requirements




                                              20
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 25



  for pre-enforcement review or alleging continuing adverse effects from the prior

  enforcement. Dias, 567 F.3d at 1176–77.

         A plaintiff satisfies the injury-in-fact requirement for retrospective relief if he

  or she “suffered a past injury that is concrete and particularized.” Tandy v. City of

  Wichita, 380 F.3d 1277, 1284 (10th Cir. 2004). “For an injury to be ‘particularized,’

  it ‘must affect the plaintiff in a personal and individual way.’” Spokeo, Inc. v. Robins,

  136 S. Ct. 1540, 1548 (2016) (quoting Lujan, 504 U.S. at 560 n.1).

                ii.    Application

         In this case, the Presidential Electors seek three forms of relief: (1) a

  declaration that § 1-4-304(5) is unconstitutional, (2) a “[f]inding” that the

  Department violated their “federally protected rights by depriving [Mr.] Baca of his

  federal right to act as an Elector and by threatening and intimidating” the Presidential

  Electors, and (3) nominal damages of $1 each. App. at 19.

         Although “a declaratory judgment is generally prospective relief,” “we

  consider declaratory relief retrospective to the extent that it is intertwined with a

  claim for monetary damages that requires us to declare whether a past constitutional

  violation occurred.” PeTA, 298 F.3d at 1202 n.2. Here, the Presidential Electors’

  request for a declaration that § 1-4-304(5) is unconstitutional is a traditional claim for

  prospective declaratory relief. But the Presidential Electors’ request for a “[f]inding”

  that the Department violated their “federally protected rights,” App. at 19, and their

  corresponding request for nominal damages, is a request for retrospective declaratory

  relief. In the later instance, “declaratory relief is superfluous in light of the damages


                                              21
Appellate Case: 18-1173       Document: 010110215652       Date Filed: 08/20/2019     Page: 26



  claim,” PeTA, 298 F.3d at 1202 n.2 (internal quotation marks omitted), and it can be

  pursued only if intertwined with a necessary determination that damages are

  warranted because a stand-alone retrospective declaratory judgment “would amount

  to nothing more than a declaration that [the plaintiff] was wronged,” Green v.

  Branson, 108 F.3d 1296, 1300 (10th Cir. 1997). We therefore do not consider the

  Presidential Electors’ claim for a retrospective declaration that the Department

  violated their constitutional rights during the 2016 election separately from their

  claim for nominal damages. But we do separately consider their request for

  prospective relief in the form of a declaration that § 1-4-304(5) is unconstitutional.

            We undertake that analysis now to determine whether the Presidential Electors

  have asserted an injury in fact entitling them to either type of relief, beginning with

  their claim for prospective relief and then turning to their claim for retrospective

  relief.

                         1)    Prospective relief

            We first consider whether the Presidential Electors have standing to seek

  prospective relief in the form of a declaration. The sole question with respect to

  prospective relief is whether any of the Presidential Electors “allege[] ‘an intention to

  engage in a course of conduct arguably affected with a constitutional interest but

  proscribed by a statute, and [that] there exists a credible threat of prosecution




                                               22
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019    Page: 27



  thereunder.’” Susan B. Anthony List, 573 U.S. at 159 (quoting Babbitt, 442 U.S. at

  298).7 We easily answer this question in the negative.

        Nowhere in the Second Amended Complaint do the Presidential Electors

  allege an intent to engage in conduct implicated by § 1-4-304(5) in the future or a

  credible threat of future prosecution. They do not allege an intention to again run for

  the position of elector or, if appointed, to vote for an individual for President or Vice

  President who did not win the popular vote in Colorado.8 See Dias, 567 F.3d 1177

  (determining the plaintiffs lacked standing for prospective relief where the

  challenged ordinance applied only in Denver’s limits and there was no “allegation

  that any of the plaintiffs intend[ed] to return to the City with their dogs,” so “there



        7
          Mr. Baca is the only Presidential Elector who voted in violation of
  § 1-4-304(5) and suffered ramifications, in the form of removal from office, under
  § 1-4-304(1). He is therefore the only plaintiff who might establish standing for
  prospective relief through continuing adverse effects of a prior enforcement. But
  Mr. Baca has not alleged any continuing adverse effects from the prior enforcement
  that could be alleviated through prospective relief, so we do not consider this as a
  potential basis for standing.
        8
           Even if the Presidential Electors had alleged an intention to run for elector
  and, if appointed, to vote for an individual who did not receive the popular vote, such
  allegations may have been too speculative to support finding a credible threat of
  prosecution. Cf. Golden v. Zwickler, 394 U.S. 103, 109 (1969) (concluding the
  petitioner lacked standing to challenge a statute prohibiting anonymous handbilling
  because the petitioner sought only to distribute leaflets relating to a specific
  Congressman who had left the House of Representatives for a 14-year term on the
  state supreme court “and the prospect was neither real nor immediate of a campaign
  involving the congressman, [and] it was wholly conjectural that another occasion
  might arise when [the petitioner] might be prosecuted for distributing” leaflets
  relating to the Congressman). Here, it is wholly conjectural that the Presidential
  Electors would again be selected to serve in that position, let alone that they would
  desire to vote contrary to the state popular vote.

                                              23
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019       Page: 28



  [was not] a credible threat of future prosecution under the Ordinance”); see also

  Steffel, 415 U.S. at 460 (recognizing that the petitioner may no longer desire to

  engage in the prohibited handbilling and therefore on remand the district court would

  have to determine whether there was sufficient immediacy of the threat). Nor does

  Mr. Baca allege a continuing threat of prosecution for his past violation of

  § 1-4-304(5); the Presidential Electors acknowledge in their reply brief that the

  Attorney General ultimately decided not to prosecute. As a result, the Presidential

  Electors cannot show a credible threat of future enforcement against them. So, none

  of them alleges an imminent personal injury that could confer standing to seek

  prospective relief, including their request for a declaration that § 1-4-304(5) is

  unconstitutional.

                      2)     Retrospective relief

         With respect to the claim for retrospective relief, the district court concluded

  the Presidential Electors did not have a personal stake in the litigation and were

  merely asserting an official interest based on “the diminution of power that

  [§ 1-4-304(5)] allegedly causes to the electors’ official role.” App. at 79. We agree

  that most of the Presidential Electors’ complaint alleges official harm to their role as

  electors.

         Specifically, the Presidential Electors allege they were threatened and

  intimidated “in the exercise of their federally protected rights as presidential

  Electors.” App. at 8 (emphasis added). They claim § 1-4-304(5) is unconstitutional

  both “on its face and as applied” because it “infringes on [the Presidential Electors’]


                                             24
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019     Page: 29



  right to vote as they see fit without coercion” and its enforcement “violated [their]

  rights as Electors.” Id. at 9 (emphasis added). Further, they seek to “correct the

  violations of their rights as Electors under Article II and Amendment XII” because

  they had “the legal freedom [as] federal Electors to vote as they deem[ed] fit.” Id.

  (emphases added). And they argue Article II and Amendment XII provide these

  rights and protections to all members of the electoral college. See id. at 18 (“Article

  II and Amendment XII . . . prohibit any person or any state from interfering with

  members of the Electoral College’s votes for President and Vice President of the

  United States.” (emphasis added)); id. (“Article II and Amendment XII . . . prohibit

  any person or state from requiring members of the Electoral College to vote for

  specific candidates for President and Vice President of the United States.” (emphasis

  added); id. (“The only limits on Electors’ vote for President and Vice President of the

  United States are set forth in Article II and Amendment XII . . . .” (emphasis added)).

  These alleged injuries are based on the Presidential Electors’ official capacity as

  members of the 2016 electoral college. As a result, their “claim of standing is based

  on a loss of political power, not loss of any private right.” Raines, 521 U.S. at 821.

  And the scope of power exercised by a presidential elector is of no personal benefit

  to the elector. Cf. Smith, 191 U.S. at 149 (denying an official standing because the

  performance or nonperformance of his official duties “was of no personal benefit to

  him”). The Presidential Electors have therefore failed to identify through these

  allegations a personal harm or injury that would entitle them to retrospective relief.




                                             25
Appellate Case: 18-1173     Document: 010110215652          Date Filed: 08/20/2019     Page: 30



         Further, even if the individual electors could base standing on harm suffered in

  their official capacity, such a rule would not provide standing here because they no

  longer serve in that official position. The Presidential Electors do not contend their

  roles as electors extend beyond the 2016 electoral college vote. Instead, the Second

  Amended Complaint alleges solely that each Presidential Elector “was a Democratic

  Elector for the 2016 presidential election.” App. at 9. As the Supreme Court noted in

  Raines, when plaintiffs allege an injury “solely because they are” in an official role,

  “[t]he claimed injury . . . runs (in a sense) with the [official] seat.” 521 U.S. at 821. If

  the official retires, he “no longer ha[s] a claim; the claim [is] possessed by his

  successor instead.” Id. So, even if the Presidential Electors had asserted the official

  injury suffered by their office, which they did not, they would still lack standing.

  Simply put, the Presidential Electors have no greater claim than any other citizen for

  an injury to an office they did not possess at the time they filed this lawsuit. See

  United States v. Richardson, 418 U.S. 166, 176–77 (1974) (rejecting standing for “a

  generalized grievance” when “the impact on [the plaintiff] is plainly undifferentiated

  and ‘common to all members of the public’” (quoting Ex parte Levitt, 302 U.S. 633,

  636 (1937))); Hansen v. Harper Excavating, Inc., 641 F.3d 1216, 1224 (10th Cir.

  2011) (“[S]tanding is assessed as of the time of filing of the complaint.”).

         Accordingly, the Presidential Electors can establish standing only by alleging a

  personal injury. The Presidential Electors contend they have alleged a personal injury

  here because Mr. Baca “was dismissed as an elector, had his vote invalidated, and

  then was personally referred . . . for criminal investigation and potential


                                              26
Appellate Case: 18-1173        Document: 010110215652        Date Filed: 08/20/2019     Page: 31



  prosecution,” and Ms. Baca and Mr. Nemanich “were threatened with identical

  consequences.” Presidential Electors’ Br. at 23. Our review of the Second Amended

  Complaint confirms that the Presidential Electors set forth these allegations. See App.

  at 15 (alleging Secretary Williams warned that electors who failed to comply with

  § 1-4-304(5) would likely be removed and replaced and be subject to perjury

  charges); id. at 17 (alleging Secretary Williams removed Mr. Baca as an elector,

  refused to count Mr. Baca’s vote, replaced Mr. Baca with a substitute, and referred

  him for criminal investigation and prosecution); id. at 18 (contending the Department

  deprived the Presidential Electors “of a federally protected right when it threatened to

  remove them as Electors, and refer them for criminal prosecution” and deprived

  Mr. Baca “of a federally protected right when it removed him as an Elector”).

  Accordingly, we now consider whether (1) Mr. Baca’s removal as an elector and

  referral for criminal investigation and (2) the threats of those consequences against

  Ms. Baca and Mr. Nemanich, are personal injuries sufficient to sustain retrospective

  relief.

                                a)    Mr. Baca’s removal from office and referral for
                                prosecution

            The district court held that the Presidential Electors suffered no personal injury

  as a result of removal or threatened removal from office because the role of a

  presidential elector does not “confer[] any meaningful pecuniary interest or

  autonomous power” on the elector. App. at 79. The court noted that the electors

  receive nominal compensation (mileage reimbursement and $5) for attendance at a



                                                27
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019       Page: 32



  one-day meeting where they are required to vote for the candidate who won the

  popular vote in Colorado. Moreover, “[o]nce the meeting is done and the votes are

  cast, the electors’ duties are over. There is no ongoing ‘office’ or ‘job’ that the

  electors have and risk losing.” Id. The district court therefore concluded the

  Presidential Electors had suffered no personal injury that could satisfy the standing

  requirement. With respect to Mr. Baca, we disagree.

        As we discuss below, Mr. Baca has asserted an injury in fact based on the

  cancellation of his vote for President and the refusal to allow him to cast a vote for

  Vice President. Mr. Baca has also asserted that he suffered an injury in fact when the

  Department removed him from his duly-appointed office as a presidential elector. An

  injury in fact must be actual and concrete, but there is no requirement in standing

  jurisprudence that the injury involve the loss of a job or office that confers pecuniary

  interest and ongoing duties. See Vill. of Arlington Heights v. Metro. Hous. Dev.

  Corp., 429 U.S. 252, 262–63 (1977) (“It has long been clear that economic injury is

  not the only kind of injury that can support a plaintiff’s standing.”). And the district

  court’s rationale that electors serve a purely ministerial function and must show up

  and vote for the candidate who won the popular vote inappropriately conflates

  standing with the merits. See Ariz. State Legislature v. Ariz. Indep. Redistricting

  Comm’n, 135 S. Ct. 2652, 2663 (2015) (“[O]ne must not ‘confus[e] weakness on the

  merits with absence of Article III standing.’” (second alteration in original) (quoting

  Davis v. United States, 564 U.S. 229, 249 n.10 (2011))).




                                              28
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 33



        If the Presidential Electors are correct, presidential electors are constitutionally

  permitted to exercise discretion in casting one of 538 votes to select the President and

  Vice President of the United States. Under that interpretation, which we must accept

  as true for purposes of standing, Mr. Baca’s loss of his office—however brief its

  existence—is an injury in fact. See Raines, 521 U.S. at 821 (recognizing officials

  would have standing to claim “depriv[ation] of something to which they personally

  are entitled—such as their seats as Members of Congress after their constituents had

  elected them”); see also Am. Humanist Ass’n, Inc. v. Douglas Cty. Sch. Dist. RE-1,

  859 F.3d 1243, 1248 (10th Cir. 2017) (emphasizing that “an injury [need not] meet

  some threshold of pervasiveness to satisfy Article III” because “an identifiable trifle

  is enough for standing to fight out a question of principle” (quoting United States v.

  Students Challenging Regulatory Agency Procedures (SCRAP), 412 U.S. 669, 689

  n.14 (1973))). Thus, Mr. Baca has shown a concrete injury with respect to his

  removal from office.

        But Mr. Baca has not alleged an injury in fact with respect to his allegation

  that Secretary Williams referred him to the Colorado Attorney General for

  investigation and potential prosecution. To be sure, “a criminal prosecution, even one

  that is swiftly abandoned, can confer standing.” Winsness v. Yocom, 433 F.3d 727,

  734 (10th Cir. 2006). “[W]rongful criminal proceedings cause a judicially cognizable

  injury that, according to our precedents, may be redressed through nominal damages

  and retrospective declaratory relief.” Id. But to have standing, the plaintiff must




                                             29
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019    Page: 34



  “seek compensation for injuries sustained as a result of his criminal prosecution.” Id.

  at 735.

         The Second Amended Complaint is devoid of any allegation that the state

  prosecuted Mr. Baca criminally as a result of his vote for John Kasich, or that

  Mr. Baca suffered any injury stemming from Secretary Williams’s referral for

  criminal investigation.9 Thus, Mr. Baca has identified a challenged action—referring

  him for investigation and potential prosecution—but he has failed to allege the

  referral resulted in any injury.

         In summary, Mr. Baca has asserted a personal injury sufficient to meet the

  Article III standing requirement for retrospective relief based on his removal from an

  office to which he was entitled. But nowhere does the Second Amended Complaint

  assert an injury caused by his referral for criminal investigation.

                              b)     Threats against Ms. Baca and Mr. Nemanich

         We turn now to whether Ms. Baca and Mr. Nemanich have asserted a personal

  injury in fact for retrospective relief based on threats to remove them from office and

  refer them for prosecution if they refused to vote for the winners of the popular vote

  in Colorado. The Presidential Electors contend that Board of Education of Central




         9
           The Presidential Electors’ reply brief contends, for the first time, that
  Mr. Baca was subject to “a long investigation that consumed [his] time and money”
  before the Attorney General decided not to prosecute. Presidential Electors’ Reply
  Br. at 29 n.5. Because this allegation was not included in the complaint, we need not
  consider whether this injury is fairly traceable to Secretary Williams’s referral rather
  than, as the Department argues, solely to the Attorney General’s actual investigation.

                                             30
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019       Page: 35



  School District No. 1 v. Allen, 392 U.S. 236 (1968), supports Ms. Baca’s and

  Mr. Nemanich’s claims of personal injury. We are not convinced.

        In Allen, two local boards of education sued to declare a state statute

  unconstitutional and to bar the commissioner of education from removing the

  members from office for failing to comply with it. 392 U.S. at 240 & n.4. The boards

  claimed the statute that required local public schools to lend textbooks free of charge

  to parochial schools violated the Establishment Clause and, therefore, compliance

  with the statute would violate their oaths to support the United States Constitution.

  Id. at 240–41. The Supreme Court addressed standing in a footnote, stating:

        Appellees do not challenge the standing of appellants to press their
        claim in this Court. Appellants [the two boards] have taken an oath to
        support the United States Constitution. Believing [section] 701 to be
        unconstitutional, they are in the position of having to choose between
        violating their oath and taking a step—refusal to comply with [section]
        701—that would be likely to bring their expulsion from office and also
        a reduction in state funds for their school districts. There can be no
        doubt that appellants thus have a “personal stake in the outcome” of this
        litigation.

  Id. at 241 n.5 (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)).

        Even if the Allen footnote could be read broadly to support the Presidential

  Electors’ standing argument, subsequent decisions from the Supreme Court have

  limited its reach. See Schlesinger v. Reservists Comm. to Stop the War, 418 U.S. 208,

  217 (1974) (holding that a “generalized interest of all citizens in constitutional

  governance” cannot confer standing); Richardson, 418 U.S. at 176–77 (determining

  taxpayer’s claim that the Central Intelligence Agency Act violated art. I, § 9, cl. 7, of

  the United States Constitution was “the kind of a generalized grievance” that could


                                             31
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019    Page: 36



  not confer standing); see also City of S. Lake Tahoe, 625 F.2d at 235–36 (examining

  Supreme Court authority pre- and post-Allen and concluding subsequent decisions

  from the Court “significantly tightened standing requirements”). Based on these later

  Supreme Court pronouncements, some lower courts have departed from Allen where

  the officials “were not required to do anything that was specifically prohibited by an

  express term of the constitution” or were elected and therefore “in no danger of

  expulsion from office as a result of any action that [the official] alone believes may

  have violated his oath.” Finch, 585 F.2d at 773–74.10

         Here, we need not consider Allen’s continuing vitality because even assuming

  its footnote remains precedential, Ms. Baca and Mr. Nemanich cannot establish

  standing to seek retrospective relief based on the threats to remove them from office

  and refer them for prosecution. In Allen, the petitioners sought prospective relief in

  the form of an injunction and a declaratory judgment. 392 U.S. at 240. As discussed,

  however, the Presidential Electors do not have standing to seek prospective relief

  because they have not alleged facts that show a credible threat of future enforcement.

  See Bronson v. Swensen, 500 F.3d 1099, 1112 (10th Cir. 2007) (recognizing that

  plaintiffs’ allegations of a “credible ‘threat’ of prosecution” “cast[s] their

  injury-in-fact in prospective-relief terms”); Winsness, 433 F.3d at 732 (“When he can


         10
           In the context of the political subdivision standing doctrine, we have also
  distinguished Allen. In City of Hugo, we reasoned that standing in Allen was “based
  on the individual board members’ personal stake in losing their jobs.” 656 F.3d at
  1260. But see id. at 1269 (Matheson, J., dissenting) (noting that in Allen “the school
  boards, not their individual members, were the plaintiffs”).


                                              32
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019       Page: 37



  show that he faces a credible threat of prosecution, a plaintiff can sue for prospective

  relief against enforcement.” (emphasis added) (internal quotation marks omitted)).

        Nor can they rely on past threats of enforcement to show an actual injury with

  respect to retrospective relief because they have failed to argue any actual injury

  stemming from that threat. See Dias, 567 F.3d at 1178 (recognizing plaintiffs had

  suffered actual injuries for retrospective relief where two plaintiffs “were forced to

  move from Denver to avoid the reach of the Ordinance” and the third plaintiff’s dog

  “was seized by animal control officers,” and the plaintiff “was charged with a

  criminal violation of the Ordinance”); PeTA, 298 F.3d at 1203 (determining there was

  standing for purposes of retrospective relief because “PeTA suffered an injury in fact

  to its constitutionally protected right to free speech when the defendants threatened

  the protestors with arrest if they did not cease their demonstration” and PeTA ceased

  protesting in response to the threat).

        Our unaided review of the Second Amended Complaint reveals a single

  relevant allegation: based on Secretary Williams “changing the oath and removing

  [Mr.] Baca,” Ms. Baca and Mr. Nemanich “felt intimidated and pressured to vote

  against their determined judgment.” App. at 17. This allegation supports a contention

  that Ms. Baca and Mr. Nemanich felt unable to exercise what they believe is the full

  range of discretion in their roles as electors. As with most of the allegations in the

  complaint, however, this injury impacts only their official function as it is “not

  claimed in any private capacity but solely because they” were members of the

  electoral college. Raines, 521 U.S. at 821; see also id. (recognizing claim for official


                                             33
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 38



  injury where the “claim of standing is based on a loss of political power, not loss of

  any private right”). Unlike plaintiffs asserting a personal constitutional right,

  Ms. Baca and Mr. Nemanich are claiming injury based on their official roles as

  electors based on threats made against all of Colorado’s electors. The injury alleged

  is a general diminution of the power of the office generally. This is not sufficient to

  meet the personal injury-in-fact requirement of standing.

        c.     Legislator standing

        The Presidential Electors also claim they fall within a limited exception to the

  personal injury requirement: legislators, suing as a bloc, have standing to enforce the

  effectiveness of their votes when their votes were sufficient to defeat or enact

  legislation. Coleman, 307 U.S. at 438; see also Kerr v. Hickenlooper, 824 F.3d 1207,

  1215 (10th Cir. 2016) (recognizing the injury in Coleman as an injury suffered in the

  legislators’ official capacity). To address this argument, we begin by discussing the

  requirements for standing under Coleman and its progeny. After, we consider

  whether the Presidential Electors meet those requirements.

               i.     Legal background

        The Supreme Court first considered the question of legislator standing in

  Coleman, where twenty of Kansas’s forty Senators who had voted against a

  resolution ratifying the Child Labor Amendment to the federal Constitution sued to

  give effect to their votes. 307 U.S. at 436. According to the plaintiff legislators,

  Kansas’s Lieutenant Governor had acted beyond his authority when he broke the tie,

  voting in favor of ratification, allowing the resolution to pass the Kansas House. Id.


                                              34
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 39



  The Supreme Court described the plaintiffs as “twenty senators, whose votes against

  ratification have been overridden and virtually held for naught although if they are

  right in their contentions their votes would have been sufficient to defeat

  ratification.” Id. at 438. The Court concluded those “senators have a plain, direct[,]

  and adequate interest in maintaining the effectiveness of their votes,” and therefore

  had standing to pursue their “claimed . . . right and privilege under the Constitution

  of the United States to have their votes given effect.” Id.

        The Supreme Court again considered legislator standing in Raines, where six

  individual members of Congress challenged the Line Item Veto Act as

  unconstitutional. 521 U.S. at 814. Focusing on two main concerns, the Court

  concluded the Congressmen could show no personal injury and therefore lacked

  standing. First, the Congressmen were not “singled out for specifically unfavorable

  treatment as opposed to other Members of their respective bodies. Their claim is that

  the Act causes a type of institutional injury (the diminution of legislative power), that

  necessarily damages all Members of Congress and both Houses of Congress equally.”

  Id. at 821. Second, the Congressmen were not claiming “they ha[d] been deprive[d]

  of something to which they personally [were] entitled,” because their “claim of

  standing [was] based on a loss of political power, not loss of any private right,” and

  that injury was “not claimed in any private capacity but solely because they are

  Members of Congress.” Id. Important for our purposes, the Court explained that if

  “one of the Members were to retire tomorrow, he would no longer have a claim; the




                                             35
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 40



  claim would be possessed by his successor instead. The claimed injury thus runs (in a

  sense) with the Member’s seat.” Id.

         The Court distinguished Raines from Coleman, emphasizing that Coleman

  stood for, at most, “the proposition that legislators whose votes would have been

  sufficient to defeat (or enact) a specific legislative Act have standing to sue if that

  legislative Act goes into effect (or does not go into effect), on the ground that their

  votes have been completely nullified.” Id. at 823; see also Va. House of Delegates v.

  Bethune-Hill, 139 S. Ct. 1945, 1954 (2019) (distinguishing Coleman because the

  present case “does not concern the results of a legislative chamber’s poll or the

  validity of any counted or uncounted votes”). The Court also “attach[ed] some

  importance to the fact that [the Congressmen] have not been authorized to represent

  their respective Houses of Congress in this action, and indeed both Houses actively

  oppose their suit.” Raines, 521 U.S. at 829; see also Va. House of Delegates, 139 S.

  Ct. at 1953 (“Just as individual members lack standing to assert the institutional

  interests of a legislature, a single House of a bicameral legislature lacks capacity to

  assert interests belonging to the legislature as a whole.” (citation omitted)); Bender v.

  Williamsport Area Sch. Dist., 475 U.S. 534, 544 (1986) (“Generally speaking,

  members of collegial bodies do not have standing to perfect an appeal the body itself

  has declined to take.”); United States v. Ballin, 144 U.S. 1, 7 (1892) (“The two

  houses of Congress are legislative bodies representing larger constituencies. Power is

  not vested in any one individual, but in the aggregate of the members who compose




                                              36
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 41



  the body, and its action is not the action of any separate member or number of

  members, but the action of the body as a whole . . . .”).

        Significant for our purposes, the Court in Raines also included a footnote that

  suggests standing can be based on the discriminatory treatment of a legislator’s vote.

  “Just as appellees cannot show that their vote was denied or nullified as in Coleman

  (in the sense that a bill they voted for would have become law if their vote had not

  been stripped of its validity), so are they unable to show that their vote was denied or

  nullified in a discriminatory manner (in the sense that their vote was denied its full

  validity on relation to the votes of their colleagues).” Raines, 521 U.S. at 824 n.7.

  That is, while diminution of the effectiveness of all votes equally is an institutional

  injury, a legislator whose vote is singled out for disparate treatment may have

  suffered a personal injury.

        The Supreme Court next visited the question of legislative standing in Arizona

  State Legislature, 135 S. Ct. 2652. There, the Arizona Legislature claimed a recently

  passed citizens’ initiative establishing an independent redistricting commission

  unconstitutionally infringed on the Arizona Legislature’s constitutional responsibility

  for redistricting. 135 S. Ct. at 2663. The Court determined that, in contrast to Raines,

  the Arizona Legislature itself had standing to pursue this claim because it was “an

  institutional plaintiff asserting an institutional injury, and it commenced th[e] action

  after authorizing votes in both of its chambers.” Id. at 2664. And, as in Coleman, the

  Arizona Legislature challenged an action that would “completely nullif[y]” an




                                             37
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 42



  otherwise effective vote of the institution. Id. at 2665 (alteration in original) (quoting

  Raines, 521 U.S. at 823).

         This court had occasion to apply the holding of Arizona State Legislature in

  Kerr, 824 F.3d 1207. There, several parties, including a group of current state

  legislators, challenged the constitutionality of a provision of the Colorado

  Constitution that limited the revenue-raising powers of state and local governments.

  Kerr, 824 F.3d at 1211. We held the individual legislators lacked standing to assert

  an institutional injury, which we defined as “those that do not ‘zero[] in on any

  individual Member’” but instead are “‘[w]idely dispersed’ and ‘necessarily impact[]

  all [m]embers of [a legislature] equally.’” Id. at 1214 (first, second, fourth, and fifth

  alterations in original) (quoting Arizona State Legislature, 135 S. Ct. at 2664).

         In Kerr, we identified three types of legislator standing recognized by

  Coleman and its progeny. The first type, illustrated by Arizona State Legislature, is

  an institutional injury—“a harm inflicted on a legislature itself, such that it

  necessarily impacts all members of that legislature in equal measure.” Kerr, 824 F.3d

  at 1215. A claim for redress of such an injury can be brought solely by an

  institutional plaintiff. “[I]ndividual legislators may not support standing by alleging

  only an institutional injury.” Id. at 1214.11




         11
           This court has left open the question whether a group of legislators large
  enough to prevail on a vote would have standing to assert an institutional injury. Kerr
  v. Hickenlooper, 824 F.3d 1207, 1215 n.1 (10th Cir. 2016). We likewise need not
  decide that question here.

                                              38
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 43



         The second type of legislator standing, recognized in Coleman, is an injury

  suffered by a bloc of legislators large enough to prevail on a vote, although in an

  official capacity, based on the complete nullification of their votes. Id. Such a claim

  can be asserted by the bloc of legislators, even without the authorization of the

  legislative body itself, if that bloc is large enough to have controlled the result of the

  legislative action. Id. at 1214–15.

         The third type of legislator standing is where an individual legislator suffers a

  personal injury. Id. at 1216. “For example, if a particular subset of legislators was

  barred from exercising their right to vote on bills, such an injury would likely be

  sufficient to establish a personal injury.” Id.; see also Raines, 521 U.S. at 824 n.7

  (distinguishing from arguments where legislators’ “vote was denied or nullified in a

  discriminatory manner (in the sense that their vote was denied its full validity in

  relation to the votes of their colleagues)”). A claim of this nature “zeroes in on the

  individual and is thus concrete and particularized.” Kerr, 824 F.3d at 1216.

         The Presidential Electors never mention Raines, Arizona State Legislature, or

  Kerr in their briefs to this court. This is surprising because the district court relied on

  all three cases in denying standing, and the Department cites them in asking us to

  affirm the district court’s decision. Because these cases represent the Supreme

  Court’s and this court’s direction on legislative standing, we explain why none

  support a conclusion that Ms. Baca and Mr. Nemanich can advance their claims here,

  but they do support Mr. Baca’s claim for standing based on the nullification of his

  vote and his removal from office.


                                              39
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 44



               ii.    Application

        Although the Presidential Electors do mention Coleman, they give it little

  attention, devoting only one paragraph in their opening brief to claim that “as

  presidential electors for Colorado, each [Presidential Elector] was entitled to have his

  or her votes properly counted once voting began.” Presidential Electors’ Br. at 22.

  And in their reply brief, the Presidential Electors contend they need not comprise a

  majority of Colorado’s electors to have standing under Coleman because “unlike a

  legislature, which makes decisions as a body, each elector has an individual right to

  vote and then transmit that vote directly to the Congress.” Presidential Electors’

  Reply Br. at 30. The Presidential Electors’ arguments are unpersuasive as to

  Ms. Baca and Mr. Nemanich for two reasons.

        First, the Supreme Court explicitly noted in Raines that, at most, Coleman

  stood for “the proposition that legislators whose votes would have been sufficient to

  defeat (or enact) a specific legislative Act have standing to sue if that legislative Act

  goes into effect (or does not go into effect), on the ground that their votes have been

  completely nullified.” 521 U.S. at 823. Coleman, therefore, provides that a group of

  legislators whose votes are sufficient to achieve their desired outcome have standing

  to challenge the nullification of those votes and the corresponding contrary result.

  Here, even if Mr. Baca, Ms. Baca and Mr. Nemanich had successfully voted for John

  Kasich, the winner of the 2016 presidential election would not have changed. Donald

  J. Trump would have still received 304 electoral votes, 163 Cong. Rec. H189 (daily




                                             40
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019    Page: 45



  ed. Jan. 6, 2017), a number constituting “the majority of the whole number of

  Electors appointed,” U.S. Const. amend. XII.

        Second, the Presidential Electors are not seeking the type of relief recognized

  in Coleman because they are not suing to effectuate their votes. The votes Ms. Baca

  and Mr. Nemanich cast were certified and delivered to the President of the Senate,

  where they were counted. And although Mr. Baca’s vote for President was not

  counted, he is not seeking to somehow belatedly credit that vote. In Coleman, the

  senators sought to compel other state actors to implement the results of their vote.

  307 U.S. at 436. In explaining why the senators had standing, the Court said, “[w]e

  think that these senators have a plain, direct[,] and adequate interest in maintaining

  the effectiveness of their votes.” Id. at 438 (emphasis added).12

        Rather, the Presidential Electors’ main challenge to § 1-4-304(5) is that it

  “restrict[s] the legal freedom of federal Electors to vote as they deem fit.” App. at 9.

  This injury impacts all of Colorado’s presidential electors equally. Consequently, the

  Department contends the Presidential Electors allege an institutional injury they

  cannot pursue because they “were not authorized to represent Colorado’s Electoral

  College as a whole.” Dep’t’s Br. at 32. The Presidential Electors disagree, asserting


        12
           In a later opinion, albeit in dicta, the Supreme Court recognized that a
  school board member seeking to protect the effectiveness of his vote would be
  required to seek “mandamus or like remedy.” See Bender v. Williamsport Area Sch.
  Dist., 475 U.S. 534, 544 n.7 (1986) (describing Coleman as a “mandamus action ‘to
  compel a proper record of legislative action’”). The Supreme Court has also
  recognized an institution’s standing to seek prospective relief against a law that
  would completely nullify the institution’s otherwise effective vote. See Ariz. State
  Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2665 (2015).

                                             41
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019       Page: 46



  that “unlike a legislature, which makes decisions as a body, each elector has an

  individual right to vote and then transmit that vote directly to Congress.” Presidential

  Electors’ Reply Br. at 30.

        If the Department is correct and Colorado’s electors constitute an institutional

  body for purposes of standing, the harm created by § 1-4-304(5) is an institutional

  injury because it necessarily “impacts all members of that [body] in equal measure.”

  Kerr, 824 F.3d at 1215. “[O]nly an institutional plaintiff possesses standing to assert

  an institutional injury.” Id. Because the Presidential Electors do not represent a

  majority of the Colorado electors13—the relevant institution under the Department’s

  theory—they lack standing to sue for an institutional injury.

        If, however, the Presidential Electors are correct and each elector has an

  individually enforceable right to vote freely, the Presidential Electors still cannot

  point to an individualized injury that would permit them to seek relief to protect that

  right. First, the threats were made against all Colorado electors equally. They did not

  zero in on Ms. Baca and Mr. Nemanich individually and thus cannot support a

  personal injury. Second, the Presidential Electors did not bring their claim in an

  official capacity. And, for the reasons discussed in greater detail above, even if they

  had done so, they would lack standing for an official injury because they are not still




        13
            The Presidential Electors represent only three of Colorado’s nine electors.
  The Presidential Electors do not argue that, if Colorado’s electors are the relevant
  institutional body, fewer than a majority of the electors would be sufficient to act on
  behalf of the institution.

                                             42
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019       Page: 47



  electors. See App. at 9 (claiming each Presidential Elector “was a Democratic Elector

  for the 2016 presidential election”).

         Accordingly, the only potential for legislative standing is under the third

  proposition we elicited from Coleman in Kerr: where an individual legislator suffers

  a personal injury. See Kerr, 824 F.3d at 1216 (“For example, if a particular subset of

  legislators was barred from exercising their right to vote on bills, such an injury

  would likely be sufficient to establish a personal injury.”). Here, Mr. Baca has

  alleged that the Department struck his vote for President and removed him from

  office, preventing him from casting his vote for Vice President. This is the type of

  injury that “zeros in on [Mr. Baca] individually and is thus concrete and

  particularized.” Id. He has therefore alleged a personal injury in fact.

         In sum, only Mr. Baca has established an injury in fact, and he has done so

  solely with respect to his claim for retrospective damages for his removal from office

  and the nullification of his vote.

  2.     Traceability and Redressability

         Because we conclude Mr. Baca has alleged an injury in fact for purposes of

  retrospective relief, we now address whether that injury is fairly traceable to the

  Department’s conduct and redressable by the relief sought. Monsanto, 561 U.S. at

  149. We conclude Mr. Baca meets both requirements.

         The complaint alleges “Secretary Williams, acting on behalf of the Colorado

  Department of State, willfully removed [Mr.] Baca as an Elector [and] refused to

  count Mr. Baca’s vote [for President or Vice President].” App. at 17. Mr. Baca’s


                                             43
Appellate Case: 18-1173       Document: 010110215652       Date Filed: 08/20/2019     Page: 48



  injuries—removal from office and nullification of his vote—are fairly traceable to

  the Department’s conduct—removing him from office and striking his vote for

  President. And the complaint seeks a determination that the Department violated

  Mr. Baca’s “federal right to act as an Elector,” entitling him to “nominal damages of

  $1 . . . for the violation of [his] rights.” Id. at 19. Nominal damages are sufficient to

  satisfy the redressability requirement for a § 1983 action. See Faustin v. City, Cty. of

  Denver, Colo., 268 F.3d 942, 948 (10th Cir. 2001).

                                         *      *     *

            In summary, none of the Presidential Electors alleged a personal injury

  sufficient to obtain the prospective relief they seek, and only Mr. Baca alleged a

  personal injury sufficient to obtain retrospective relief. Mr. Baca has also satisfied

  the requirements of traceability and redressability as to his claim for retrospective

  relief.

            We therefore affirm the district court’s dismissal of Ms. Baca’s and

  Mr. Nemanich’s claims under rule 12(b)(1). We also affirm the district court’s

  dismissal of Mr. Baca’s claim under rule 12(b)(1)—to the extent he seeks prospective

  relief—because Mr. Baca has not alleged a continuing threat that § 1-4-304(5) will be

  enforced against him. But we conclude the district court erred in dismissing

  Mr. Baca’s claim to the extent he seeks retrospective relief because he has standing

  based on his removal from his role of elector and the cancellation of his vote.




                                               44
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019       Page: 49



                    IV.    DISCUSSION PART TWO: MOOTNESS

        Having determined Mr. Baca has standing to pursue retrospective relief, we

  turn to another potential jurisdictional bar: mootness. Mr. Baca brought his claim

  under 42 U.S.C. § 1983, which requires Mr. Baca prove (1) a person, (2) acting under

  color of state law, (3) deprived him of “any rights, privileges, or immunities secured

  by the Constitution and laws.” 42 U.S.C. § 1983. Relying on Arizonans for Official

  English v. Arizona, 520 U.S. 43 (1997), the dissent concludes that because the

  Department is not a person for purposes of § 1983, and Mr. Baca therefore cannot

  satisfy the first element of his § 1983 claim, this case is moot. Respectfully, we

  disagree that the defect in the merits of Mr. Baca’s claim—a defect that the

  Department expressly waived—renders this case moot.

        Mootness “has been described as ‘the doctrine of standing set in a time frame:

  The requisite personal interest that must exist at the commencement of the litigation

  (standing) must continue throughout its existence (mootness).’” Arizonans for

  Official English, 520 U.S. at 68 n.22 (quoting United States Parole Comm’n v.

  Geraghty, 445 U.S. 388, 397 (1980)). Thus, a case becomes moot when “an

  intervening circumstance deprives the plaintiff of a personal stake in the outcome of

  the lawsuit[] at any point during litigation.” Campbell-Edwald Co. v. Gomez, 136 S.

  Ct. 663, 669 (2016) (quoting Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 72

  (2013)); see also Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528

  U.S. 167, 191 (2000) (distinguishing standing doctrine from mootness because “by

  the time mootness is an issue, the case has been brought and litigated, often . . . for


                                             45
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 50



  years”). Although some subsequent actions will clearly moot a case by depriving the

  parties of a continuing interest in the litigation, “as when the parties have settled or a

  plaintiff pursuing a nonsurviving claim has died,” we must also be mindful that “[t]o

  abandon the case at an advanced stage may prove more wasteful than frugal.”

  Friends of the Earth, 528 U.S. at 191–92.

         Here, there has been no “intervening circumstance” that could render this case

  moot. From its initiation, Mr. Baca has sought both prospective and retrospective

  relief, the latter of which includes a claim for nominal damages. Thus, the defect in

  the merits of Mr. Baca’s § 1983 claim does not render the dispute before us moot.

  See DTC Energy Grp., Inc. v. Hirschfeld, 912 F.3d 1263, 1269 (10th Cir. 2018) (“The

  doctrine of mootness in no way depends on the merits of the plaintiff’s contention.”

  (quotation marks omitted)). Nor do we read Arizonans as holding otherwise.

         In Arizonans, the plaintiff Yniguez, a state employee, sued the state of Arizona

  (along with state officials) pursuant to § 1983, seeking both a declaration that an

  amendment to the Arizona Constitution requiring the State to “act in English and in

  no other language” was unconstitutional, and an order enjoining its enforcement. 520

  U.S. at 49–51. While her case was pending before the Ninth Circuit, Yniguez

  resigned from state employment, and Arizona’s Attorney General suggested that this

  new development rendered the case moot because it now “lack[ed] a viable plaintiff.”

  Id. at 59–60. The Ninth Circuit rejected the suggestion of mootness, noting that

  although Yniguez “may no longer be affected by the English only provision” (and

  therefore lacked any continuing interest in injunctive relief), she could still pursue


                                              46
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019      Page: 51



  nominal damages despite failing to “expressly request nominal damages” in her

  complaint. Id. at 60 (quoting Yniguez v. Arizona, 975 F.2d 646, 647 (9th Cir. 1992)).

  The Ninth Circuit then returned the case to district court to provide Yniguez an

  opportunity to “place before the [court], explicitly, the issue of nominal damages.”

  Id. at 60–61.

        The Supreme Court rejected this attempt to create a claim for nominal

  damages to “overcome” mootness. Because § 1983 actions “do not lie against a

  State,” id. at 69, the Court concluded, “[i]t should have been clear to the Court of

  Appeals that a claim for nominal damages, extracted late in the day from Yniguez’s

  general prayer for relief and asserted solely to avoid otherwise certain mootness, bore

  close inspection. On such inspection, the Ninth Circuit might have perceived that

  Yniguez’s plea for nominal damages could not genuinely revive the case.” Id. at 71

  (citation omitted). But, crucially, it was not the failure of the improvised nominal-

  damages claim under § 1983 that mooted the case; it was Yniguez’s departure from

  state employment: “Yniguez’s changed circumstances—her resignation from public

  sector employment to pursue work in the private sector—mooted the case stated in

  her complaint.” Id. at 72. With respect to the rejection of the tardy nominal damages

  claim, the Court concluded the claim could not be added to the action because it was

  futile. See McKinley v. Kaplan, 177 F.3d 1253, 1256 (11th Cir. 1999) (“[T]he reason

  the plaintiff’s attempted addition of a damages claim could not obviate the mootness

  problem in Arizonans for Official English was that such a damages claim would, as a

  matter of law, be non-meritorious and futile.”).


                                             47
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019    Page: 52



        Arizonans does not teach that any claim for damages against a state pursuant to

  § 1983 is moot; it stands for the narrower proposition that a last-minute claim for

  legally unavailable relief cannot overcome certain mootness. See id. at 69 (“[T]he

  claim for relief the Ninth Circuit found sufficient to overcome mootness was

  nonexistent.” (emphasis added)). Decisions from other circuits and an unpublished

  decision from this circuit are consistent with this reading of Arizonans. See Chi.

  United Indus. v. City of Chicago, 445 F.3d 940, 948 (7th Cir. 2006) (holding that a

  damage claim saved the case from complete mootness and citing Arizonans as

  creating an exception “for cases in which a damages claim is added at the last minute

  in a desperate attempt to stave off the dismissal of the case as moot”); Lillbask v.

  Conn. Dep’t of Educ., 397 F.3d 77, 90 (2d Cir. 2005) (upholding dismissal of the

  action as moot despite general claim for such “other relief as the Court deems just

  and proper” and citing Arizonans as directing close inspection of a claim for nominal

  damages extracted late in the day from a general prayer for relief); Harris v. Itzhaki,

  183 F.3d 1043, 1050 (9th Cir. 1999) (holding that claims for prospective relief had

  become moot, but that damage claim included in plaintiff’s initial prayer for relief

  was unaffected by Arizonans); Harris v. City of Houston, 151 F.3d 186, 191 (5th Cir.

  1998) (citing Arizonans and holding case was moot where “the appellants limited and

  focused their pleading and arguments solely to enjoining the annexation and election”

  and did not seek damages); Thomas R.W. ex rel. Pamela R. v. Mass. Dep’t of Educ.,

  130 F.3d 477, 480–81 (1st Cir. 1997) (relying on Arizonans to hold that a

  reimbursement claim first raised in the reply brief on appeal “was too little, too late”


                                             48
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019     Page: 53



  to “supply the residual live controversy necessary to preserve his entire case from

  being mooted”); Fox v. Bd. of Trs. of State Univ. of N.Y., 42 F.3d 135, 141 (2d Cir.

  1994) (rejecting attempt to add nominal damages claim to overcome mootness where

  the complaint contained “absolutely no specific mention . . . of nominal damages”);

  see also Olson v. City of Golden, 541 F. App’x 824, 829 (10th Cir. 2013) (noting that

  while “a claim for nominal damages will satisfy Article III’s case or controversy

  requirement . . . the circumstances of this case do not warrant applying that rule to a

  claim for nominal damages ‘extracted late in the day from [Olson’s] general prayer

  for relief and asserted solely to avoid otherwise certain mootness’” (quoting

  Arizonans, 520 U.S. at 71)).

        Unlike Yniguez’s claim in Arizonans, Mr. Baca’s claim has always been for

  both prospective relief (injunction) and retrospective relief (nominal damages and

  retrospective declaration). And there has been no change in the status of the parties

  since the complaint was filed.

        To be sure, there is a major flaw in the merits of Mr. Baca’s § 1983 claim. As

  the parties acknowledged in supplemental briefing, Mr. Baca cannot satisfy the first

  prong of a § 1983 claim because the Department is not a person for purposes of the

  statute. Will, 491 US at 70–71.

        But neither in the district court nor in the briefing here did the Department

  raise this argument. And in its supplemental briefing, the Department confirms that,

  for purposes of this case, it has expressly waived the argument that it is not a person

  under § 1983. Assuming Mr. Baca can meet the other requirements of his § 1983


                                             49
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 54



  claim—the Department was acting under state law and he was deprived of a

  constitutional right—Mr. Baca may prevail on his claim and be entitled to nominal

  damages. See 42 U.S.C. § 1983; Faustin, 268 F.3d at 948 (recognizing nominal

  damages are available for a § 1983 claim). And this court has squarely held that a

  complaint for nominal damages survives mootness even where prospective relief is

  no longer available. Utah Animal Rights Coal. v. Salt Lake City Corp., 371 F.3d

  1248, 1257 (10th Cir. 2004); see also id. at 1258 (“[A]lthough the conduct at issue is

  long past and will not be repeated, the Ordinance under challenge has been amended

  to correct its alleged constitutional flaw, and Plaintiff concedes that it suffered no

  compensable injury, under our precedents this panel is required to determine on the

  merits whether Defendant's past conduct and no-longer-operative Ordinance

  comported with the First Amendment.”).

        The dissent suggests that the merits defect in Mr. Baca’s case means there is

  no chance of money changing hands and further concludes this lack of remedy

  renders the claim moot. Dissenting Op. at 2. We disagree. Mr. Baca is seeking, and

  upon prevailing would be entitled to, nominal damages in the form of $1. And

  because the Department waived Eleventh Amendment immunity in this case,

  damages can be awarded. Thus, assuming Mr. Baca succeeds on the merits of his

  claim, there is no legal reason Mr. Baca would not be entitled to receive his nominal

  damages award and therefore a remedy is available in this case.

        The dissent’s argument does not apply the appropriate test. That is, its

  determination is dependent upon a decision by this court to raise sua sponte the


                                             50
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019        Page: 55



  personhood argument expressly waived by the Department. Only if we do so would it

  be impossible for Mr. Baca to prevail on his § 1983 claim. But, insofar as we are

  considering mootness, we may not consider the merits of the personhood argument

  because the mootness inquiry “in no way depends on the merits of the plaintiff’s

  contention.” Keller Tank Servs. II, Inc. v. Comm’r, 854 F.3d 1178, 1194 (10th Cir.

  2017) (quoting Smith v. SEC, 129 F.3d 356, 363 (6th Cir. 1997)). In evaluating

  mootness, “the court assumes the plaintiff will receive the relief that he requests in

  this litigation[] and then proceeds to determine whether there is a substantial

  likelihood that that relief will redress his asserted injury.” Id. (emphasis added)

  (quoting Smith, 129 F.3d at 364).

        The dissent also suggests that it is “appropriate to consider the ‘personhood

  argument’ in relation to mootness” because “[a]t the pleading stage[] a plaintiff must

  invoke our power to adjudicate a case by sufficiently alleging the prerequisites to

  subject-matter jurisdiction” and Mr. Baca has failed to do so because “the availability

  of nominal damages is clearly foreclosed by Lapides [v. Bd. of Regents, 535 U.S. 613

  (2002)], Arizonans, and Will.” Dissenting Op. at 3 n.3. Although we do not view it as

  part of our mootness analysis, we agree that a plaintiff must plead a colorable claim

  to invoke federal jurisdiction under 28 U.S.C. § 1331. Arbaugh v. Y&H Corp., 546

  U.S. 500, 513 n.10 (2006). But, unlike the dissent, we conclude the § 1983 claim here

  was not so wholly frivolous as to preclude the district court’s exercise of federal

  question jurisdiction.




                                             51
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019        Page: 56



         The Supreme Court has “long distinguished between failing to raise a

  substantial federal question for jurisdictional purposes . . . and failing to state a claim

  for relief on the merits; only ‘wholly insubstantial and frivolous’ claims implicate the

  former.” Shapiro v. McManus, 136 S. Ct. 450, 455 (2015) (quoting Bell v. Hood, 327

  U.S. 678, 682–83 (1946)). “‘“[C]onstitutional insubstantiality” for this purpose has

  been equated with such concepts as “essentially fictitious,” “wholly insubstantial,”

  “obviously frivolous,” and “obviously without merit.”’ And the adverbs were no

  mere throwaways; ‘[t]he limiting words “wholly” and “obviously” have cogent legal

  significance.’” Id. (second alteration in original) (citation omitted) (quoting Goosby

  v. Osser, 409 U.S. 512, 518 (1973)). “Dismissal for lack of subject-matter

  jurisdiction because of the inadequacy of the federal claim is proper only when the

  claim is ‘so insubstantial, implausible, foreclosed by prior decisions of [the Supreme]

  Court, or otherwise completely devoid of any merit as not to involve a federal

  controversy.’” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 89 (1998)

  (quoting Oneida Indian Nation of N.Y. v. Cty. of Oneida, 414 U.S. 661, 666 (1974)).

  “A claim is insubstantial only if ‘its unsoundness so clearly results from the previous

  decisions of [the Supreme] Court as to foreclose the subject and leave no room for

  the inference that the questions sought to be raised can be the subject of

  controversy.’” Goosby, 409 U.S. at 518 (quoting Ex parte Poresky, 290 U.S. 30, 32

  (1933)).

         Here, Mr. Baca has sued the Colorado Department of State. From Will, we

  know that “neither a State nor its officials acting in their official capacities are


                                              52
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019      Page: 57



  ‘persons’ under § 1983.” 491 U.S. at 71. And the Supreme Court later emphasized

  that “Will establishes that the State and arms of the State, which have traditionally

  enjoyed Eleventh Amendment immunity, are not subject to suit under § 1983 in

  either federal court or state court.” Howlett ex rel. Howlett v. Rose, 496 U.S. 356, 365

  (1990).

         Whether the Department is a “person” under § 1983 therefore depends on

  whether the Department would enjoy Eleventh Amendment immunity as an

  arm-of-the-state. In undertaking this analysis, we consider “four primary factors”:

         First, we assess the character ascribed to the entity under state law.
         Simply stated, we conduct a formalistic survey of state law to ascertain
         whether the entity is identified as an agency of the state. Second, we
         consider the autonomy accorded the entity under state law. This
         determination hinges upon the degree of control the state exercises over
         the entity. Third, we study the entity’s finances. Here, we look to the
         amount of state funding the entity receives and consider whether the
         entity has the ability to issue bonds or levy taxes on its own behalf.
         Fourth, we ask whether the entity in question is concerned primarily
         with local or state affairs. In answering this question, we examine the
         agency’s function, composition, and purpose.

  Steadfast Ins. Co. v. Agric. Ins. Co., 507 F.3d 1250, 1253 (10th Cir. 2007) (citations

  omitted). With respect to the entity’s finances, we also must look to whether a

  “money judgment sought is to be satisfied out of the state treasury,” focusing “on

  legal liability for a judgment, rather than [the] practical, or indirect, impact a

  judgment would have on a state’s treasury.” Sturdevant v. Paulsen, 218 F.3d 1160,

  1164 (10th Cir. 2000) (quotation marks omitted).

         Although the parties now concede that the Department is not a person under

  § 1983, it was not obvious from the face of the complaint that the Department meets


                                              53
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019       Page: 58



  our Eleventh Amendment immunity test (and therefore is not a person under § 1983).

  Thus, the federal claim asserted is not “so insubstantial, implausible, foreclosed by

  prior decisions of [the Supreme] Court, or otherwise completely devoid of any merit

  as not to involve a federal controversy.” Steel Co., 523 U.S. at 89 (quoting Oneida

  Indian Nation of N.Y., 414 U.S. at 666). When this court, and our district courts,

  evaluate whether an entity, including an entity labeled a state’s “department,” is an

  arm-of-the-state for either § 1983 personhood or Eleventh Amendment immunity

  purposes, the analysis often includes a lengthy discussion of the features of the

  particular department, and when dismissal is based on a lack of personhood under

  § 1983, that decision is on the merits. See, e.g., Ruiz v. McDonnell, 299 F.3d 1173,

  1180–82 (10th Cir. 2002) (analyzing whether the Colorado Department of Human

  Services was entitled to Eleventh Amendment immunity under Federal Rule of Civil

  Procedure 12(b)(1), but considering whether the Department was a person for

  purposes of § 1983 under rule 12(b)(6)); V-1 Oil Co. v. Utah State Dep’t of Pub.

  Safety, 131 F.3d 1415, 1420 n.1 (10th Cir. 1997) (applying the Eleventh Amendment

  immunity test to the Utah Department of Public Safety, the Utah State Fire Marshal

  Division, and the Utah Liquefied Petroleum Gas Board by analyzing state statutes

  and concluding jurisdiction was lacking); Divine Church of God & Christ v. Taxation

  & Revenue Dep’t, No. 97-2068, 1997 WL 355326, at *2 (10th Cir. June 27, 1997)

  (turning to state statutes to determine whether Taxation and Revenue Department of

  New Mexico met the Eleventh Amendment immunity factors, and holding that the

  district court erred in the absence of an express waiver of immunity); Roybal-Mack v.


                                            54
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019    Page: 59



  N.M. Dep’t of Pub. Safety, 286 F. Supp. 3d 1226, 1238–39 (D.N.M. 2017) (granting

  rule 12(b)(6) dismissal on additional ground that the New Mexico Department of

  Public Safety and the New Mexico State Police were not persons under § 1983); Ross

  v. Colo. Dep’t of Transp., No. 11-cv-02603-REB-KMT, 2012 WL 5975086, at *5–6

  (D. Colo. Nov. 14, 2012) (concluding the Colorado Department of Transportation did

  not meet its burden of proving it was entitled to Eleventh Amendment immunity

  despite the Department arguing it was a “‘principal department’ of the state of

  Colorado”); Armijo v. New Mexico, No. CIV 08-0336 JB/ACT, 2009 WL 3672828, at

  *2–3 (D.N.M. Sept. 30, 2009) (concluding the New Mexico Department of

  Transportation is not a person under § 1983 and holding that “dismissal for such a

  defect is for failure to state a claim under rule 12(b)(6) and not for lack of

  subject-matter jurisdiction”).

        For the personhood defect to deprive the district court of federal question

  jurisdiction, the answer to whether the Department is a person under § 1983 must “so

  clearly result[] from the previous decisions of [the Supreme] Court as to foreclose the

  subject and leave no inference that the questions sought to be raised can be the

  subject of controversy.” Goosby, 409 U.S. at 518 (quoting Ex parte Poresky, 290

  U.S. at 32). But we have found no decision of the Supreme Court that forecloses that

  subject and our own precedent dictates that whether a department is an arm of the

  state can be answered only after analyzing (1) “the character ascribed to the

  [Department] under state law,” (2) “the autonomy accorded the [Department] under

  state law,” (3) “the [Department’s] finance,” including “the amount of state funding


                                              55
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019       Page: 60



  the entity receives” and whether it “has the ability to issue bonds or levy state taxes

  on its own behalf,” and (4) whether the Department “is concerned primarily with

  local or state affairs.” Steadfast Ins., 507 F.3d at 1253. Based on the factual

  complexity of the required analysis, we cannot conclude “that the cause of action

  alleged is so patently without merit as to justify . . . the court’s dismissal for want

  [of] jurisdiction.” Bell, 327 U.S. at 683. Accordingly, we are convinced the district

  court properly exercised jurisdiction under § 1331.

         Mr. Baca, if successful on his § 1983 claim, would be entitled to relief in the

  form of nominal damages. Thus, the issues presented in this case are still “live” and

  “the parties [have] a legally cognizable interest in the outcome.” Id. at 1256 (quoting

  City of Erie v. Pap’s A.M., 529 U.S. 277, 287 (2000)). And “granting a present

  determination of the issues offered . . . will have some effect in the real world”

  because Mr. Baca can receive nominal damages. Id. (quotation marks omitted). As a

  result, this case is not moot and our court has continuing jurisdiction over the issues.

  Rather, the issue raised by the Department’s lack of § 1983 personhood is whether

  we should exercise our discretion to affirm the district court on this alternative

  ground, despite the Department’s waiver of that argument. We undertake that

  analysis now.

       V.     DISCUSSION PART THREE: FAILURE TO STATE A CLAIM

         Having concluded Mr. Baca has standing and that this case is not moot, we

  proceed to the third part of this opinion: whether the district court’s alternative

  dismissal under rule 12(b)(6) based on failure to state a claim is correct. But, because


                                              56
Appellate Case: 18-1173      Document: 010110215652          Date Filed: 08/20/2019       Page: 61



  we have determined Mr. Baca has standing based only on his removal from office

  and the nullification of his vote, we limit our analysis to that claim. We begin by

  setting forth the relevant standard of review. Then, we pause to address whether we

  should affirm the district court’s rule 12(b)(6) dismissal on the alternative ground

  that the Department is not a person for purposes of § 1983. Finally, because we

  decline to exercise our discretion to affirm the district court on an alternative ground,

  we consider whether Mr. Baca has stated a valid claim of deprivation of his

  constitutional rights.

                                  A.      Standard of Review

         We review de novo the grant of a motion to dismiss under Federal Rule of

  Civil Procedure 12(b)(6). Albers v. Bd. of Cty. Comm’rs of Jefferson Cty., Colo., 771

  F.3d 697, 700 (10th Cir. 2014). “To survive a motion to dismiss, a plaintiff must

  plead facts sufficient to state a claim to relief that is plausible on its face.” Id.

  (internal quotation marks omitted). “[W]e must accept all the well-pleaded

  allegations of the complaint as true and must construe them in the light most

  favorable to the plaintiff.” Id. (quotation marks omitted).

                                B.     “Person” Under § 1983

         Before we turn to the correctness of the district court’s order dismissing

  Mr. Baca’s claim under rule 12(b)(6) for failure to plead a constitutional violation,

  we must first decide whether to affirm the district court on an alternative

  nonconstitutional ground—that Mr. Baca’s claim fails under rule 12(b)(6) because

  the Department is not a person under § 1983.


                                               57
Appellate Case: 18-1173       Document: 010110215652        Date Filed: 08/20/2019    Page: 62



           “[I]t is ‘a well-established principle governing the prudent exercise of this

  Court’s jurisdiction that normally the Court will not decide a constitutional question

  if there is some other ground upon which to dispose the case.’” Bond v. United

  States, 572 U.S. 844, 855 (2014) (quoting Escambia Cty. v. McMillan, 466 U.S. 48,

  51 (1984) (per curiam)). An appeal “brings before this Court not merely the

  constitutional question decided below, but the entire case,” which “includes

  nonconstitutional questions actually decided by the lower court as well as

  nonconstitutional grounds presented to, but not passed on, by the lower court.”

  Zobrest v. Catalina Foothills Sch. Dist., 509 U.S. 1, 7 (1993) (quoting United States

  v. Locke, 471 U.S. 84, 92 (1985)). But an appeal does not bring before the court

  nonconstitutional grounds never raised. See id. at 8. And where “the parties chose to

  litigate the case on the federal constitutional issues alone,” both before the district

  court and the court of appeals, “the prudential rule of avoiding constitutional

  questions has no application. The fact that there may be buried in the record a

  nonconstitutional ground for decision is not by itself enough to invoke this rule.” Id.

  at 7–8. But see United States v. Cusumano, 83 F.3d 1247, 1251 (10th Cir. 1996) (en

  banc) (quoting favorably, in dicta, the dissent in Zobrest). Although this court has

  “discretion to affirm on any ground adequately supported by the record,” in

  exercising that discretion we must “consider whether the ground was fully briefed

  and argued here and below.” Elkins v. Comfort, 392 F.3d 1159, 1162 (10th Cir.

  2004).




                                               58
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019      Page: 63



         Here, the Department moved to dismiss the Presidential Electors’ claims under

  Federal Rule of Civil Procedure 12(b)(6) based solely on the contention that the

  Department’s actions did not violate Article II or the Twelfth Amendment. And the

  district court’s alternative dismissal under rule 12(b)(6) likewise focused solely on

  the constitutionality of the Department’s actions. Before this court, the Department

  again focused solely on whether Article II and the Twelfth Amendment were violated

  by the Department’s actions. The Department has never suggested that rule 12(b)(6)

  dismissal is appropriate because the Department is not a person for purposes of

  § 1983. To the contrary, the Department made clear in its supplemental briefing that

  it expressly waives any argument in this case that it is not a person under § 1983.

         Based on this procedural history, we decline to affirm the district court’s

  decision on the alternative ground that the Department is not a person under § 1983.

  The Department has “chose[n] to litigate the case on the federal constitutional issues

  alone,” both before the district court and this court. Zobrest, 509 U.S. at 7–8. And

  although we must raise jurisdictional issues sua sponte, Koerpel v. Heckler, 797 F.2d

  858, 861 (10th Cir. 1986), there is nothing in § 1983 that “speak[s] in jurisdictional

  terms or refer[s] in any way to the jurisdiction of the district courts,” Arbaugh, 546

  U.S. at 515 (quoting Zipes v. Trans World Airlines, Inc., 455 U.S. 385, 394 (1982)).

  “[W]hen Congress does not rank a statutory limitation on coverage as jurisdictional,”

  such as § 1983’s limitation to claims against persons, “courts should treat the

  restriction as nonjurisdictional in character” and address the requirement as “an

  element of a plaintiff’s claim for relief, not a jurisdictional issue.” Id. at 515–16


                                              59
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019    Page: 64



  (determining Title VII’s application to entities with 15 or more employees is

  nonjurisdictional).14 And a plaintiff’s failure to meet that element is an argument that

  can be forfeited by a defendant. See Howlett, 496 U.S. at 381 (“Respondents also

  argue in their brief on the merits that a Florida school board is an arm of the State

  and thus is not a person under § 1983. This contention was not presented in

  respondent’s brief in opposition to the petition for certiorari, and we decline to reach

  it here.”). The Department has expressly waived the failure of this element, and the

  issue of whether the Department is a person under § 1983 is not a jurisdictional issue

  that this court must raise sua sponte.15




        14
            The dissent cites Lexmark International, Inc. v. Static Control Components,
  Inc., for the proposition that we cannot “recognize a cause of action that Congress
  has denied.” 572 U.S. 118, 128 (2014); Dissenting Op. at 4. But Lexmark’s statement
  was in the context of whether a plaintiff had statutory standing to sue—an issue the
  court must address sua sponte. See 572 U.S. at 126–28.
          Outside that context, the Court has enforced the waiver of statutory elements.
  For example, Congress did not create a Title VII cause of action against an employer
  with fewer than fifteen employees. 42 U.S.C. §§ 2000e(b), 2000e-2(a). But the
  Supreme Court held in Arbaugh v. Y&H Corp. that this limitation was
  nonjurisdictional and therefore waivable. 546 U.S. 500, 514–15 (2006).
          Similarly, Congress did not create a § 1983 action against arms of the states.
  But this requirement is a nonjurisdictional element of a plaintiff’s claim. “Nothing in
  the text of [§ 1983] indicates that Congress intended courts, on their own motion, to
  assure that the [personhood] requirement is met.” Id. at 514.
        15
           The Presidential Electors filed a motion with this court seeking leave to
  conform the Second Amended Complaint to state a claim directly under the
  Constitution rather than § 1983, if this court determined the failure to meet the
  “person” element of a § 1983 claim created a jurisdictional barrier. Because we
  conclude there is no jurisdictional defect, we deny without prejudice the Presidential
  Electors’ motion to conform the Second Amended Complaint as moot.

                                             60
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019    Page: 65



         For these reasons, we decline to affirm the district court’s decision to dismiss

  Mr. Baca’s claim under rule 12(b)(6) on the alternative ground that the Department is

  not a person under § 1983. Instead, we proceed to the issue of whether the district

  court correctly dismissed Mr. Baca’s complaint for failure to allege the deprivation of

  a constitutional right.

                              C.     Constitutional Violation

         Mr. Baca sued under 42 U.S.C. § 1983 for an alleged deprivation of his

  constitutional rights provided by Article II and the Twelfth Amendment. The district

  court dismissed his claims because it concluded that § 1-4-304(5) merely “codifies

  the historical understanding and longstanding practice of binding electors to the

  People’s vote.” App. at 93. Mr. Baca challenges this determination, arguing that

  electors are constitutionally permitted to exercise independence and discretion based

  on Article II and the Twelfth Amendment, and that Colorado’s interference with that

  power by removing Mr. Baca and nullifying his vote for refusing to comply with the

  vote-binding provision in § 1-4-304(5) violates his constitutional rights.

         In order to determine whether Mr. Baca stated a claim under § 1983, we must

  first determine whether Article II and the Twelfth Amendment provide Mr. Baca a

  “right” within the meaning of § 1983. Dennis v. Higgins, 498 U.S. 439, 448 (1991).

  This analysis involves three considerations: (1) “whether the provision in question

  creates obligations binding on the governmental unit or rather ‘does no more than

  express a congressional preference for certain kinds of treatment,’” (2) whether “[t]he

  interest the plaintiff asserts [is] ‘too vague and amorphous’ to be ‘beyond the


                                             61
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 66



  competence of the judiciary to enforce,’” and (3) “whether the provision in question

  was ‘intend[ed] to benefit’ the putative plaintiff.” Id. at 448–49 (third alteration in

  original) (quoting Golden State Transit Corp. v. City of L.A., 493 U.S. 103, 106

  (1989)).

        The parties did not brief to the district court, and the district court did not

  consider, whether Article II and the Twelfth Amendment provide a “right” within the

  meaning of § 1983. Nor did the parties adequately raise this issue in their briefing to

  this court.16 Instead, the parties focus their argument on the contours of the rights

  provided to presidential electors and to states under Article II and the Twelfth

  Amendment and whether the Department’s actions violated any rights provided

  presidential electors. The issue we must address in this case is therefore whether the

  Department violated any constitutional right Article II and the Twelfth Amendment

  confer on Mr. Baca based on the delineation of those rights.

        To resolve this dispute, we examine the operations of the Electoral College

  created by the United States Constitution, and particularly the phenomenon known as

  “faithless” or “anomalous” electors.17 The precise question before this court is


        16
            In a footnote in its standing argument, the Department argues that Article II
  and the Twelfth Amendment are not privately enforceable under § 1983 because
  “[m]erely exercising a ‘federal function’ under the cited provisions does not, by
  itself, confer constitutional rights that may be vindicated in federal court.” Dep’t’s
  Br. at 30 n.4. This argument is inadequately briefed and therefore waived. Alder v.
  Wal-Mart Stores, Inc., 144 F.3d 664, 679 (10th Cir. 1998).
        17
            The term “Electoral College” is not used in the Constitution but has come to
  refer to the presidential electors created by Article II, Section 1. Traditionally,


                                              62
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 67



  whether the states may constitutionally remove a presidential elector during voting

  and nullify his vote based on the elector’s failure to comply with state law dictating

  the candidate for whom the elector must vote.

        We begin our analysis by quoting the relevant constitutional text from

  Article II and the Twelfth Amendment. Then we consider Supreme Court precedent

  to determine whether the Court has resolved this issue. Concluding it has not, we

  undertake that task, first identifying the proper framing of the question based on the

  Supremacy Clause and the Tenth Amendment. Next, we interpret Article II and the

  Twelfth Amendment, beginning with an analysis of the constitutional text, followed

  by a discussion of the historical context of the Twelfth Amendment, historical

  practices of the Electoral College, and authoritative sources.

  1.    The Federal Constitution

        The original federal Constitution set forth the method for selecting the

  President of the United States in Article II, Section 1. At that time, the Constitution

  provided, in relevant part:

        The executive Power shall be vested in a President of the United States of
        America. He shall hold his Office during the Term of four Years, and,
        together with the Vice President, chosen for the same Term, be elected, as
        follows:

        Each State shall appoint, in such Manner as the Legislature thereof may
        direct, a Number of Electors, equal to the whole Number of Senators and

  presidential electors who cast a vote contrary to the appointing power’s wishes or
  contrary to the elector’s pledge have been referred to as “faithless electors.” More
  recently, some commentators have substituted the term “anomalous electors” to avoid
  the pejorative connotation implicit in the more traditional phrase. For purposes of this
  opinion, we use the terms interchangeably.

                                             63
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019        Page: 68



         Representatives to which the State may be entitled in the Congress: but no
         Senator or Representative, or Person holding an Office of Trust or Profit
         under the United States, shall be appointed an Elector.

         The Electors shall meet in their respective States, and vote by Ballot for
         two Persons, of whom one at least shall not be an Inhabitant of the same
         State with themselves. And they shall make a List of all the Persons voted
         for, and of the Number of Votes for each; which List they shall sign and
         certify, and transmit sealed to the Seat of the Government of the United
         States, directed to the President of the Senate. The President of the Senate
         shall, in the Presence of the Senate and House of Representatives, open all
         the Certificates, and the Votes shall then be counted. The Person having the
         greatest Number of Votes shall be the President, if such Number be a
         Majority of the whole Number of Electors appointed; and if there be more
         than one who have such Majority, and have an equal Number of Votes,
         then the House of Representatives shall immediately chuse by Ballot one of
         them for President; and if no Person have a Majority, then from the five
         highest on the List the said House shall in like Manner chuse the President.
         But in chusing the President, the Votes shall be taken by States, the
         Representation from each State having one Vote; A quorum for this
         Purpose shall consist of a Member or Members from two thirds of the
         States, and a Majority of all the States shall be necessary to a Choice. In
         every Case, after the Choice of the President, the Person having the greatest
         Number of Votes of the Electors shall be the Vice President. But if there
         should remain two or more who have equal Votes, the Senate shall chuse
         from them by Ballot the Vice President.

         The Congress may determine the Time of chusing the Electors, and the Day
         on which they shall give their Votes; which Day shall be the same
         throughout the United States.

  U.S. Const., art. II, § 1, cls. 1–4, amended by U.S. Const. amend. XII. Under the original

  version of this section, the electors each voted for two candidates. The person with the

  most votes became President, while the person with the second-highest number of votes

  became Vice President. Id.

         Almost immediately, the practical application of the Electoral College proved

  disappointing. For example, in 1796, the presidential electors selected Federalist



                                              64
Appellate Case: 18-1173      Document: 010110215652          Date Filed: 08/20/2019         Page: 69



  candidate, John Adams, as President, but paired him with a political rival, Republican

  Thomas Jefferson, as Vice President. See Ray, 343 U.S. at 224 n.11. Then in the

  election of 1800, two Republicans—Thomas Jefferson and Aaron Burr—each

  received the same number of electors’ votes. 10 Annals of Cong. 1024 (1801). This

  threw the election into the House, where it took over thirty rounds of voting to break

  the tie. Id. at 1028.

         These experiences convinced the founders that a change had to be made. In

  1804, the Twelfth Amendment to the United States Constitution was ratified. It

  modified the requirements in Article II, Section 1, Clause 3, and provides:

         The Electors shall meet in their respective states and vote by ballot for
         President and Vice-President, one of whom, at least, shall not be an
         inhabitant of the same state with themselves; they shall name in their
         ballots the person voted for as President, and in distinct ballots the person
         voted for as Vice-President, and they shall make distinct lists of all persons
         voted for as President, and of all persons voted for as Vice-President, and
         of the number of votes for each, which lists they shall sign and certify, and
         transmit sealed to the seat of the government of the United States, directed
         to the President of the Senate; ⸺ the President of the Senate shall, in the
         presence of the Senate and House of Representatives, open all the
         certificates and the votes shall then be counted; ⸺ The person having the
         greatest number of votes for President, shall be the President, if such
         number be a majority of the whole number of Electors appointed; and if no
         person have such majority, then from the persons having the highest
         numbers not exceeding three on the list of those voted for as President, the
         House of Representatives shall choose immediately, by ballot, the
         President. But in choosing the President, the votes shall be taken by states,
         the representation from each state having one vote; a quorum for this
         purpose shall consist of a member or members from two-thirds of the
         states, and a majority of all the states shall be necessary to a choice. [And if
         the House of Representatives shall not choose a President whenever the
         right of choice shall devolve upon them, before the fourth day of March
         next following, then the Vice-President shall act as President, as in case of
         the death or other constitutional disability of the President. ⸺ The person
         having the greatest number of votes as Vice-President, shall be the Vice-


                                               65
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019         Page: 70



        President, if such number be a majority of the whole number of Electors
        appointed, and if no person have a majority, then from the two highest
        numbers on the list, the Senate shall choose the Vice-President; a quorum
        for the purpose shall consist of two-thirds of the whole number of Senators,
        and a majority of the whole number shall be necessary to a choice. But no
        person constitutionally ineligible to the office of President shall be eligible
        to that of Vice-President of the United States.

  U.S. Const. amend. XII.

        With these changes, the electors voted separately for President and Vice

  President, thereby reducing the risk of a tie or split ticket. Since 1804, there has been

  a single further amendment to the formation or operation of the Electoral College—

  the Twenty-Third Amendment provides the District of Columbia with votes in the

  electoral college, and the District’s designated voters are “considered, for the

  purposes of the election of President and Vice President, to be electors appointed by

  a State.” Id. amend. XXIII.

  2.    Legal Precedent

        Little case law explores the independence of electors under the Twelfth

  Amendment or whether electors can be removed for exercising such independence.

  To the extent the Supreme Court has commented on the question, both the Court and

  individual Justices have suggested the Constitution—as originally understood—

  recognized elector independence. See McPherson v. Blacker, 146 U.S. 1, 36 (1892)

  (“Doubtless it was supposed that the electors would exercise a reasonable

  independence and fair judgment in the selection of the chief executive, but

  experience soon demonstrated that . . . they were so chosen simply to register the will

  of the appointing power in respect of a particular candidate. In relation, then, to the


                                              66
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019    Page: 71



  independence of the electors, the original expectation may be said to have been

  frustrated.”); Williams v. Rhodes, 393 U.S. 23, 43–44 (1968) (Harlan, J., concurring

  in the result) (“The College was created to permit the most knowledgeable members

  of the community to choose the executive of a nation whose continental dimensions

  were thought to preclude an informed choice by the citizenry at large.”); Ray, 343

  U.S. at 232 (Jackson, J., dissenting) (“No one faithful to our history can deny that the

  plan originally contemplated, what is implicit in its text, that electors would be free

  agents, to exercise an independent and nonpartisan judgment as to the men best

  qualified for the Nation’s highest offices. Certainly under that plan no state law could

  control the elector in performance of his federal duty, any more than it could a United

  States Senator who also is chosen by, and represents, the State.”).

        The Supreme Court, however, has considered a closely analogous question—

  whether a primary candidate for party elector can be required to pledge to support the

  party’s candidate. See Ray, 343 U.S. at 224. In Ray, the Democratic Party challenged

  the Alabama Supreme Court’s determination that requiring a primary candidate for

  presidential elector to pledge support for the party’s candidate violated the Twelfth

  Amendment. 343 U.S. at 215. In Alabama, political parties were “given the power to

  fix political or other qualifications for its own members” and could “determine who

  shall be entitled and qualified to vote in the primary election or to be a candidate

  therein.” Id. at 217. The Democratic Party required candidates for presidential elector

  to take a pledge to support “the nominees of the National Convention of the

  Democratic Party for President and Vice-President of the United States.” Id. at 215.


                                             67
Appellate Case: 18-1173        Document: 010110215652          Date Filed: 08/20/2019        Page: 72



           In analyzing whether the Twelfth Amendment prohibited a political party from

  requiring such a pledge, the Court began by noting the Constitution is silent on the

  issue:

           [t]he applicable constitutional provisions on their face furnish no definite
           answer to the query whether a state may permit a party to require party
           regularity from its primary candidates for national electors. . . . Neither the
           language of Art. II, [§] 1, nor that of the Twelfth Amendment forbids a
           party to require from candidates in its primary a pledge of political
           conformity with the aims of the party. Unless such a requirement is
           implicit, certainly neither provision of the Constitution requires a state
           political party, affiliated with a national party through acceptance of the
           national call to send state delegates to the national convention, to accept
           persons as candidates who refuse to agree to abide by the party’s
           requirement.

  Id. at 224–25. The Supreme Court concluded a state political party could require

  pledges because Alabama’s “primary and general elections are a part of the

  state-controlled elective process.” Id. at 227. This process was “an exercise of the

  state’s right to appoint electors in such manner, subject to possible constitutional

  limitations, as it may choose.” Id. (citing U.S. Const. art. II, § 1). Therefore, “[t]he

  fact that the primary is part of the election machinery is immaterial unless the

  requirement of pledge violates some constitutional or statutory provision.” Id.

           The Supreme Court next “consider[ed] the argument that the Twelfth

  Amendment demands absolute freedom for the elector to vote his own choice,

  uninhibited by pledge.” Id. at 228 (emphasis added). On this point, the Supreme

  Court explained:

           It is true that the Amendment says the electors shall vote by ballot. But it is
           also true that the Amendment does not prohibit an elector's announcing his
           choice beforehand, pledging himself. The suggestion that in the early


                                                 68
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019         Page: 73



        elections candidates for electors—contemporaries of the Founders—would
        have hesitated, because of constitutional limitations, to pledge themselves
        to support party nominees in the event of their selection as electors is
        impossible to accept. History teaches that the electors were expected to
        support the party nominees. Experts in the history of government recognize
        the longstanding practice. Indeed, more than twenty states do not print the
        names of the candidates for electors on the general election ballot. Instead
        in one form or another they allow a vote for the presidential candidate of
        the national conventions to be counted as a vote for his party's nominees for
        the electoral college. This long-continued practical interpretation of the
        constitutional propriety of an implied or oral pledge of his ballot by a
        candidate for elector as to his vote in the electoral college weighs heavily in
        considering the constitutionality of a pledge, such as the one here required,
        in the primary.

  Id. at 228–30 (emphases added) (footnotes omitted). From this discussion, it is

  apparent there is no prohibition on a nominee for elector pledging to vote for a

  particular candidate, at least with respect to the primary election at issue in Ray.

        But the Supreme Court went on to state:

        [E]ven if such promises of candidates for the electoral college are legally
        unenforceable because violative of an assumed constitutional freedom of
        the elector under the Constitution, Art. II, [§] 1, to vote as he may choose in
        the electoral college, it would not follow that the requirement of a pledge in
        the primary is unconstitutional. A candidacy in the primary is a voluntary
        act of the applicant. He is not barred, discriminatorily, from participating
        but must comply with the rules of the party. Surely one may voluntarily
        assume obligations to vote for a certain candidate. The State offers him
        opportunity to become a candidate for elector on his own terms, although
        he must file his declaration before the primary.

  Id. at 230 (emphases added).

        Three important aspects of the Court’s opinion in Ray prevent its holding from

  controlling the question presented here. First, the Court did not decide whether the

  pledge in Ray could be legally enforced. Id. at 230 (“[E]ven if such promises of

  candidates for the electoral college are legally unenforceable because violative of an


                                              69
Appellate Case: 18-1173        Document: 010110215652      Date Filed: 08/20/2019     Page: 74



  assumed constitutional freedom of the elector under the Constitution . . . to vote as he

  may choose in the electoral college, it would not follow that the requirement of a

  pledge in the primary is unconstitutional.”). Here, we cannot leave that question

  open. Mr. Baca has alleged that § 1-4-304(5) was enforced against him and used to

  remove him from his role as an elector in violation of the federal Constitution.

  Therefore, unlike the Court in Ray, we must decide whether a requirement to vote for

  a particular candidate can be legally enforced by removal of the elector and

  nullification of his vote.

         Second, Ray notes that an individual could become a candidate for presidential

  elector, without taking a pledge, through an alternative method allowing independent

  electors to appear on the ballot. Id. at 230. In Ray, the decision to enter a party’s

  primary and “comply with the rules of the party,” including undertaking the pledge,

  was truly “a voluntary act of the applicant.” Id. In contrast, the Colorado statute at

  issue here, § 1-4-304(5), mandates compliance by every person appointed as an

  elector. And there is no alternative path by which an elector can appear on the ballot

  without complying with § 1-4-304(5).

         Third, in Ray, the Court considered a requirement for the state’s appointment

  of electors; nothing in the opinion speaks to the removal of electors who have begun

  performing their federal function. The Court recognized that “[a] state’s or a political

  party’s exclusion of candidates from a party primary because they will not pledge to

  support the party’s nominees is a method of securing party candidates in the general

  election, pledged to the philosophy and leadership of that party.” Id. at 227. This


                                              70
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 75



  action “is an exercise of the state’s right to appoint electors in such manner, subject

  to possible constitutional limitations, as it may choose.” Id. (emphasis added).

  “Where a state authorizes a party to choose its nominees for elector in a party

  primary and to fix the qualifications for the candidates,” there is no constitutional

  objection to requiring a pledge in the primary to support the party’s nominees. Id. at

  231.

         Ray’s holding is narrow. The Court recognized the states’ plenary power to

  determine how electors are appointed. See U.S. Const., art. II, § 1, cl. 2; see also

  Bush v. Gore, 531 U.S. 98, 104 (2000). It then held this power can include requiring

  individuals seeking appointment as electors in a party’s primary to take a (potentially

  unenforceable) pledge to vote for a specific candidate for President or Vice President.

  Ray, 343 U.S. at 227. But Ray does not address restrictions placed on electors after

  appointment or actions taken against faithless electors who have performed their

  federal function by voting for a different presidential or vice presidential candidate

  than those they pledged to support. Indeed, Ray does not decide whether pledges

  taken at any stage of the process can be enforced at all, let alone through removal of

  an elector and nullification of the elector’s vote.

         Overall, Ray is materially distinguishable from the facts here and thus leaves

  open the relevant enforcement question, even in the context of a state primary

  election. We turn to that question now, beginning with the relevant standard of

  review. We then consider Mr. Baca’s reliance on the supremacy clause, specifically

  rejecting the Department’s attempt to limit its reach to preemption jurisprudence.


                                              71
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019        Page: 76



  3.    Framing the Question

        As a general rule, we interpret the Constitution according to its text. See Utah

  v. Evans, 536 U.S. 452, 474 (2002) (beginning with a review of the text of the Census

  Clause before considering its historical application). But when the constitutional

  question is one “of which the great principles of liberty are not concerned, but

  [instead raises] the respective powers of those who are equally the representatives of

  the people,” our interpretation “ought to receive a considerable impression from

  [government] practice.” M’Culloch v. State, 17 U.S. 316, 401 (1819). When applying

  constitutional text, “we are guided by the principle that ‘[t]he Constitution was

  written to be understood by the voters; its words and phrases were used in their

  normal and ordinary as distinguished from technical meaning.’” District of Columbia

  v. Heller, 554 U.S. 570, 576 (2008) (quoting United States v. Sprague, 282 U.S. 716,

  731 (1931)).

        In this appeal, we must interpret Article II and the Twelfth Amendment. But

  the parties disagree about how to frame the question. Mr. Baca contends we must

  determine whether “[t]he Constitution’s text requires elector discretion.” Presidential

  Electors’ Reply at 11. Mr. Baca further contends that the Supremacy Clause prohibits

  states from interfering with a presidential elector’s performance of a federal function.

  The Department argues instead that we must decide whether there is “any

  constitutional bar against the States binding their electors to the outcome of the

  State’s popular vote.” Dep’t’s Br. at 54. Pointing to the Tenth Amendment, the

  Department claims that in the absence of such a bar, the states have the power to bind


                                             72
Appellate Case: 18-1173    Document: 010110215652       Date Filed: 08/20/2019    Page: 77



  or remove electors. And the Department further argues that, even if the Tenth

  Amendment does not retain for the states the power to remove or bind electors, that

  power can be found in the express power to appoint electors.

        Therefore, we begin our analysis by turning to the Supremacy Clause to place

  the controversy in context. Then, we shift focus to the Tenth Amendment to

  determine whether it could reserve to the states the power to bind or remove electors.

  Concluding that it could not, we next consider whether the Constitution has delegated

  such power to the states. In answering that question, we reject the Department’s

  argument that the power to appoint electors necessarily includes the power to remove

  them and to cancel an already-cast vote. We then examine the remaining text of

  Article II, as modified by the Twelfth Amendment, to decide whether it delegates to

  the states the power to bind or remove electors. For the reasons we now explain, we

  conclude that it does not.

        a.     Supremacy clause

        “It is a seminal principle of our law ‘that the constitution and the laws made in

  pursuance thereof are supreme; that they control the constitution and laws of the

  respective States, and cannot be controlled by them.’” Hancock v. Train, 426 U.S.

  167, 178 (1976) (quoting McCulloch v. Maryland, 4 Wheat. 316, 426 (1819)). “[T]he

  very essence of supremacy [is] to remove all obstacles to its action within its own

  sphere, and so to modify every power vested in subordinate governments as to

  exempt its own operation from their own influence.” Id. (quoting McCulloch, 4

  Wheat. at 427). To this end, the Supreme Court has held that “the function of a state


                                            73
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 78



  Legislature in ratifying a proposed amendment to the federal Constitution, like the

  function of Congress in proposing the amendment, is a federal function derived from

  the federal Constitution; and it transcends any limitations sought to be imposed by

  the people of a state.” Leser v. Garnett, 258 U.S. 130, 136 (1922) (emphases added);

  see also Hawke v. Smith, 253 U.S. 221, 230–31 (1920) (holding a provision of the

  Ohio Constitution requiring the submission of proposed constitutional amendments to

  referendum vote after ratification by the state legislature violated Article V of the

  United States Constitution). And, relevant here, the Supreme Court has instructed

  that presidential electors “exercise federal functions under, and discharge duties in

  virtue of authority conferred by, the Constitution of the United States.” Burroughs v.

  United States, 290 U.S. 534, 545 (1934); see also Ray, 343 U.S. at 224–25

  (recognizing “presidential electors exercise a federal function in balloting for

  President and Vice-President” and they “act by authority of the state that in turn

  receives its authority from the federal constitution”). As a result, Mr. Baca contends

  the Department, acting through Secretary Williams, unconstitutionally interfered with

  his performance of a federal function in his role as presidential elector.18

        According to the Department, Mr. Baca is asserting classic conflict

  preemption, which is inapplicable here because § 1-4-304(5) does not conflict with or



        18
           “[T]he Supremacy Clause, of its own force, does not create rights
  enforceable under § 1983.” Golden State Transit Corp. v. City of L.A., 493 U.S. 103,
  107 (1989) (footnote omitted). But we turn to the Supremacy Clause to help frame
  our analysis of the respective rights assigned by the Constitution to presidential
  electors and the states.

                                             74
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019    Page: 79



  frustrate any federal objectives. Instead, the Department claims the statute furthers

  congressional objectives, as reflected by Congress’s enactment of a similar statute for

  the District of Columbia’s electors, as well as a statute that permits states to make the

  final determination regarding any controversy or contest regarding the appointment

  of state electors.19 The Department therefore urges this court to conclude there is no

  conflict preemption.

        The Department’s argument misunderstands the scope of the Supremacy

  Clause. It is true that all types of preemption stem from the Supremacy Clause. See

  Colo. Dep’t of Pub. Health & Env’t, Hazardous Materials & Waste Mgmt. Div. v.

  United States, 693 F.3d 1214, 1222 (10th Cir. 2012) (“In light of the federal

  Constitution’s Supremacy Clause, it has long been recognized that federal law

  preempts contrary state enactments.” (footnote omitted) (internal quotation marks

  omitted)). But the Supremacy Clause is broader than preemption; it immunizes all

  federal functions from limitations or control by the states. Hancock, 426 U.S. at

  178-79; Leser, 258 U.S. at 136.




        19
           By Constitutional amendment, the District of Columbia is entitled to electors
  who “shall [be] appoint[ed] in such manner as the Congress may direct,” and who
  “shall be considered, for the purposes of the election of President and Vice President,
  to be electors appointed by a state.” U.S. Const. amend. XXIII. The Department
  points to the statute attempting to bind electors in the District of Columbia to the
  winner of the popular vote as evidence that it is consistent with Congress’s objectives
  for presidential electors to be subject to vote-binding provisions, and therefore that
  § 1-4-304(5) does not violate Supremacy Clause principles. But this turns the
  Supremacy Clause on its head. Congress’s power to adopt legislation is cabined by
  the powers granted in the Constitution, not the converse.

                                             75
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 80



         Therefore, in determining whether Mr. Baca has stated a plausible claim for

  relief based on his removal from his role of elector and the nullification of his vote,

  we must decide whether the Constitution allows states to take such action against

  presidential electors exercising their federal function. In undertaking this analysis, we

  begin with the Tenth Amendment to resolve the parties’ arguments regarding how to

  frame the question: if we ask whether the Constitution permits states from removing

  electors and nullifying nonconforming votes, or if the proper inquiry is whether such

  activity is prohibited.

         b.     Tenth Amendment

         The Department argues that, even if the Constitution is silent on the question,

  “the power to bind or remove electors is properly reserved to the States under the

  Tenth Amendment.” Dep’t’s Br. at 47–48. The Tenth Amendment states, “[t]he

  powers not delegated to the United States by the Constitution, nor prohibited by it to

  the States, are reserved to the States respectively, or to the people.” U.S. Const.

  amend. X. Thus, in many instances, silence is properly interpreted as an intent that

  the relevant power be retained by the states. But that is not true here.

         The Supreme Court has instructed that the Tenth Amendment “could only

  ‘reserve’ that which existed before.” U.S. Term Limits, Inc. v. Thornton, 514 U.S.

  779, 802 (1995). Thus, “the states can exercise no powers whatsoever, which

  exclusively spring out of the existence of the national government, which the

  constitution does not delegate to them. . . . No state can say, that it has reserved, what

  it never possessed.” Id. (alteration in original) (quoting 1 Story § 627)). In U.S. Term


                                             76
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019    Page: 81



  Limits, the Supreme Court held the states had no right to impose additional

  qualifications on Congressmen, stating, “as the Framers recognized, electing

  representatives to the National Legislature was a new right, arising from the

  Constitution itself.” Id. The Tenth Amendment, therefore, “provides no basis for

  concluding that the States possess reserved power to add qualifications to those that

  are fixed in the Constitution.” Id. Instead, such power “must derive not from the

  reserved powers of state sovereignty, but rather from the delegated powers of

  national sovereignty. In the absence of any constitutional delegation to the States of

  power to add qualifications to those enumerated in the Constitution, such a power

  does not exist.”20 Id.

         The same calculus applies to presidential electors. The Tenth Amendment

  could not “reserve” to the states the power to remove or bind electors because no

  such power was held by the states before adoption of the federal Constitution. Id. at

  803–04 (“It is no original prerogative of state power to appoint a representative, a

  senator, or president for the union.”) (quoting 1 Story § 627)). Rather, “the provisions

  governing elections reveal the Framers’ understanding that powers over the election



         20
            Mr. Baca also argues that requiring electors to vote for the candidate
  winning the popular vote in the state unconstitutionally adds new requirements for
  both holding the office of elector and the office of President and Vice President. Cf.
  U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779, 827 (1995) (concluding states
  cannot constitutionally add qualifications to serve in Congress beyond those included
  in the Constitution). Because we conclude the Constitution does not provide the
  states the power to remove electors on other grounds, we need not decide whether
  Mr. Baca’s removal was also unconstitutional because it was based on an
  unconstitutional qualification.

                                            77
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019    Page: 82



  of federal officers had to be delegated to, rather than reserved by, the States.” Id. at

  804. The Tenth Amendment thus can provide no basis for removing electors or

  canceling their votes in the absence of an express delegation in the Constitution of

  that power. And where the Constitution is silent, there is no “constitutional

  delegation to the States to [remove electors after they have been appointed or to

  strike their votes], such a power does not exist.” Id.

        As a result, because the Tenth Amendment could not reserve to the states the

  power to remove electors or cancel their votes, the states possess such power only if

  expressly delegated by the Constitution.

  4.    Constitutional Text

        Because we conclude the Tenth Amendment could not reserve to the states the

  power to remove from office and nullify the vote of a presidential elector, we must

  determine whether the Constitution expressly permits such acts. We begin by

  addressing the Department’s argument that the state’s constitutional power to appoint

  electors includes the power to remove them and to nullify their votes. Determining it

  does not, we next ascertain whether the remainder of Article II and the Twelfth

  Amendment delegate the states such power. Again answering that question in the

  negative, we consider what constitutional rights Article II and the Twelfth

  Amendment confer on presidential electors.

        a.     Appointment power

        Article II provides: “Each State shall appoint, in such Manner as the

  Legislature thereof may direct, a Number of Electors, equal to the whole Number of


                                              78
Appellate Case: 18-1173      Document: 010110215652        Date Filed: 08/20/2019    Page: 83



  Senators and Representatives to which the State may be entitled in the Congress.”

  U.S. Const., art. II, § 1, cl. 2. And the Supreme Court has expressly recognized

  Article II, Section 1, Clause 2 as one of the clauses constituting an “express

  delegation[] of power to the States to act with respect to federal elections.” U.S. Term

  Limits, 514 U.S. at 805. Relying on cases related to the President’s appointment and

  removal powers, the Department argues this express delegation of power in Article II

  includes the power to remove electors because “the power to appoint necessarily

  encompasses the power to remove.” Dep’t’s Br. at 43. Conversely, Mr. Baca

  contends the President’s power to remove subordinate executive officials, although

  incidental to his appointment power, is inapposite to the removal of presidential

  electors. We agree with Mr. Baca and conclude the state’s appointment power is not

  so broad as to include the ability to remove electors in punishment for anomalous

  votes.

           To be sure, “the state legislature’s power to select the manner for appointing

  electors is plenary.” Bush, 531 U.S. at 104; see also McPherson, 146 U.S. at 35 (“In

  short, the appointment and mode of appointment of electors belong exclusively to the

  states under the constitution of the United States.”). The states therefore have broad

  discretion in the process by which they select their presidential electors. But the

  question here is not over Colorado’s power to appoint electors; it is whether this

  appointment power includes the ability to remove electors and cancel already-cast

  votes after the electors are appointed and begin performing their federal function.




                                              79
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 84



        In arguing that the power to appoint necessarily includes the power to remove

  and nullify an anomalous vote, the Department relies on Myers v. United States, 272

  U.S. 52, 175–76 (1926) (invalidating the Tenure of Office Act of 1867 “in so far as it

  attempted to prevent the President from removing executive officers who had been

  appointed by him and with the advice and consent of the Senate”). We read the

  holding of Myers more narrowly than the Department.

        True enough, Myers acknowledges a principle of “constitutional and statutory

  construction” that “the power of appointment carrie[s] with it the power of removal.”

  272 U.S. at 119. But the reasoning supporting this principle illustrates that it extends

  solely to the executive power. “The reason for the principle is that those in charge of

  and responsible for administering functions of the government, who select their

  executive subordinates, need in meeting their responsibility to have the power to

  remove those whom they appoint.” Id. These executive officers merely “aid [the

  President] in the performance of the great duties of his office, and represent him in a

  thousand acts to which it can hardly be supposed his personal attention is called, and

  thus he is enabled to fulfill the duty of his great department, express in the phrase

  that ‘he shall take care that the laws be faithfully executed.’” Id. at 133 (quoting

  Cunningham v. Neagle, 135 U.S. 1, 63–64 (1890)); see also U.S. Const. art. II, § 1,

  cl. 1 (“The executive Power shall be vested in a President of the United States of

  America.”); U.S. Const. art. II, § 3, cl. 1 (“[The President] shall take Care that the

  Laws be faithfully executed, and shall Commission all the Officers of the United

  States”). In the performance of their “highest and most important duties,” the


                                             80
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019        Page: 85



  executive officers exercise “not their own but [the President’s] discretion,” Myers,

  272 U.S. at 132, and therefore they “must do his will,” id. at 134.

        Because the President must place his “implicit faith” in his subordinates, “[t]he

  moment that he loses confidence in the intelligence, ability, or loyalty of any one of

  them, he must have the power to remove him without delay.” Id. at 134. These

  “imperative reasons” necessitate the President’s “unrestricted power to remove the

  most important of his subordinates in their most important duties,” and consequently

  “control the interpretation of the Constitution as to all appointed by him.” Id. at 135.

  In short, this principle of constitutional construction applies to the executive alone:

  “when the grant of the executive power is enforced by the express mandate to take

  care that the laws be faithfully executed, it emphasizes the necessity for including

  within the executive power as conferred the exclusive power of removal.” Id. at 122;

  see also Humphrey’s Ex’r v. United States, 295 U.S. 602, 627 (1935) (recognizing

  Myers “concerned ‘an officer [who] is merely one of the units in the executive

  department and, hence, inherently subject to the exclusive and illimitable power of

  removal by the Chief Executive, whose subordinate and aid he is’” (quoting Myers,

  272 U.S. at 163–64). More recently, the Supreme Court confirmed that the executive

  removal power is based on the broad grant of executive power to the President and

  the President’s constitutional obligation to take care that the laws are faithfully

  executed. “Since 1789, the Constitution has been understood to empower the

  President to keep [the executive] officers [who assist the President in discharging his

  duties] accountable—by removing them from office, if necessary.” Free Enter. Fund


                                             81
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 86



  v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 483 (2010). “Article II confers

  on the President ‘the general administrative control of those executing the laws.’” Id.

  at 492 (quoting Myers, 272 U.S. at 164)). It is the President’s “responsibility to take

  care that the laws be faithfully executed,” and “the President therefore must have

  some ‘power of removing those for whom he cannot continue to be responsible.” Id.

  at 493 (quoting Myers, 272 U.S. at 117).

         These decisions teach that the power to remove subordinates in the executive

  branch derives from the President’s broad executive power and his responsibility to

  faithfully execute the laws.21 Unlike the President appointing subordinates in the

  executive department, states appointing presidential electors are not selecting inferior

  state officials to assist in carrying out a function for which the state is ultimately

  responsible. Presidential electors exercise a federal function—not a state function—

  when casting their ballots. Burroughs, 290 U.S. at 545. When undertaking that

  federal function, presidential electors are not executing their appointing power’s



         21
            To illustrate this point, we need look no further than the Constitution’s
  delegation of power to the state executive to appoint a replacement to finish the term
  of a Senator unable to do so. U.S. Const. amend. XVII. (“When vacancies happen in
  the representation of any State in the Senate, the executive authority of such State
  shall issue writs of election to fill such vacancies: Provided, That the legislature of
  any State may empower the executive thereof to make temporary appointments until
  the people fill the vacancies by election as the legislature may direct.”). Under the
  Department’s theory, the power of the state executive to appoint the replacement
  Senator would include the power to interrupt a session of the United States Senate
  and demand that a vote cast by the replacement Senator be nullified. We can find
  nothing in the Constitution that would allow this state intrusion on the operations of
  the federal government.


                                              82
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019        Page: 87



  function but their own. Cf. Myers, 272 U.S. at 132 (recognizing that when executive

  officers perform their “highest and most important duties[,] . . . they act for” the

  President and “are exercising not their own but his discretion”). And unlike the Take

  Care Clause imposed on the President, neither Article II nor the Twelfth Amendment

  instructs the states to take care that the electors faithfully perform their federal

  function. From this we conclude that the states’ power to appoint electors does not

  include the power to remove them or to nullify their votes.22

         b.     Article II and the Twelfth Amendment

         Having determined that neither the Tenth Amendment nor the power to

  appoint electors provides the states with the power to remove electors and nullify

  their votes, we turn to the language of Article II, as modified by the Twelfth

  Amendment.23 We first analyze the text to determine what role, if any, the states play


         22
            Even if the power to appoint did include the power to remove, however, that
  power would not be without limitation. The powers granted to the states by the
  Constitution “are always subject to the limitation that they may not be exercised in a
  way that violates other specific provisions of the Constitution.” Williams, 393 U.S. at
  29. It cannot “be thought that the power to select electors could be exercised in such
  a way as to violate express constitutional commands that specifically bar States from
  passing certain kinds of laws.” Id. In the same regard, it cannot be thought that the
  power to remove electors could be exercised in contravention of an express
  constitutional command.
          As we discuss below, the Constitution provides presidential electors with
  discretion in casting their votes for President and Vice President, and expressly
  requires that all votes cast for President and Vice President be listed and delivered to
  the Senate. As a result, a state could not constitutionally exercise any presumed
  removal power in contravention of these constitutional mandates.
         23
          Most of the Department’s arguments focus on whether the text of the
  Twelfth Amendment prohibits, rather than permits, the states’ interference with


                                              83
Appellate Case: 18-1173      Document: 010110215652           Date Filed: 08/20/2019   Page: 88



  in the presidential and vice presidential selection process after appointment of the

  electors. Based on our reading, we conclude the express duties of the states are

  limited to appointment of the presidential electors. Next, we consider Mr. Baca’s

  argument that the use of the terms “elector,” “vote,” and “ballot” support a reading of

  Article II that permits them to vote free from state interference. We agree that

  contemporaneous usage of these terms supports Mr. Baca’s position. Finally, we turn

  to the historical context of the Twelfth Amendment and its impact on Article II, as

  originally drafted. Based on our review, we conclude the states may not interfere

  with a presidential elector who exercises discretion in casting votes for the President

  and Vice President of the United States.

                i.     Role of the states after appointment

         According to Mr. Baca, the states have no right to remove appointed electors

  or strike their votes because the Constitution provides no role for the states after

  appointment. Based on a close reading of the text of the Twelfth Amendment, we

  agree that the Constitution provides no express role for the states after appointment

  of its presidential electors.

         Article II, as modified by the Twelfth Amendment, describes the process for

  selecting a President and Vice President in unusual detail, assigning specific duties to



  electors by binding their votes, removing them from office, or discarding their votes.
  But, as discussed above, the Tenth Amendment could not reserve to the states any
  power over the electors. Therefore, the states have power to interfere with electors
  exercising their federal function only if the Constitution delegates that power to the
  states.

                                              84
Appellate Case: 18-1173     Document: 010110215652          Date Filed: 08/20/2019     Page: 89



  identified actors. The process begins with the state appointing electors on the date

  selected by Congress. See U.S. Const. art. II, § 1, cls. 2, 4. As discussed, the states

  have plenary power to decide how those electors are selected. Id. art. II, § 1, cl. 2

  (“Each State shall appoint, in such Manner as the Legislature thereof may

  direct . . . .”); Bush, 531 U.S. at 104. But the states are not mentioned again in Article

  II, and the Constitution affords them no other role in the selection of the President

  and Vice President. Instead, every step thereafter is expressly delegated to a different

  body.

          Article II charges Congress with selecting the date on which the electors will

  cast their votes. U.S. Const. art. II, § 1, cl. 4. The Twelfth Amendment next provides

  that the electors shall meet on that day in their respective states to “vote by ballot for

  President and Vice President.” Id. amend. XII. The electors then must “name in their

  [distinct] ballots the person voted for as President[] and . . . Vice-President.” Id.

  After the electors cast their ballots, it is the electors who “shall make distinct lists of

  all persons voted for as President, and of all persons voted for as Vice-President, and

  of the number of votes for each.” Id. And the Constitution directs that the electors

  must “sign and certify” those lists and “transmit” them to the President of the Senate.

  Id.

          The Constitution then specifies that the President of the Senate must open the

  certificates in the presence of the Senate and the House of Representatives and count

  the votes. Id. If an individual receives votes for the office of President or Vice

  President totaling a majority of the number of appointed electors, that person


                                              85
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019      Page: 90



  becomes President or Vice President elect. Id. If no individual achieves a majority,

  the Twelfth Amendment provides a detailed process by which the House of

  Representatives chooses the President and the Senate chooses the Vice President. Id.

         As the text and structure show, the Twelfth Amendment allows no room for

  the states to interfere with the electors’ exercise of their federal functions. From the

  moment the electors are appointed, the election process proceeds according to

  detailed instructions set forth in the Constitution itself. The Twelfth Amendment

  directs the electors to “name in their [distinct] ballots the person voted for as

  President . . . [and] Vice-President.” U.S. Const. amend. XII. And it demands that the

  lists of votes certified and delivered to the President of the Senate include “all

  persons voted for as President, and all persons voted for as Vice-President, and the

  number of votes for each.” Id. The plain language of the Constitution provides that,

  once a vote is cast, it must be included in the certified list sent to the President of the

  Senate. Nowhere in the Twelfth Amendment is there a grant of power to the state to

  remove an elector who votes in a manner unacceptable to the state or to strike that

  vote. Indeed, the express requirement that all votes be listed is inconsistent with such

  power. And because Article II, Section 1, Clause 2 sets the precise number of

  electors, the state may not appoint additional electors to cast new votes in favor of

  the candidate preferred by the state.

         In short, while the Constitution grants the states plenary power to appoint their

  electors, it does not provide the states the power to interfere once voting begins, to

  remove an elector, to direct the other electors to disregard the removed elector’s vote,


                                              86
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019    Page: 91



  or to appoint a new elector to cast a replacement vote. See id. In the absence of such

  a delegation, the states lack such power. U.S. Term Limits, 514 U.S. at 802 (“[T]he

  states can exercise no powers whatsoever, which exclusively spring out of the

  existence of the national government, which the constitution does not delegate to

  them.”).

               ii.    Use of “elector,” “vote,” and “ballot”

        Mr. Baca contends that not only is a role for the state beyond appointment

  conspicuously absent from the Constitution, but the language used—specifically the

  terms “elector,” “vote,” and “ballot”—also establishes that no such role exists

  because presidential electors are granted the constitutional right to exercise discretion

  when voting for the President and Vice President. In analyzing this contention, we

  first consider the meanings of those terms as understood at the time of the

  Constitution’s ratification. Then, we compare the use of “elector” in Article II and

  the Twelfth Amendment with the use of that term elsewhere in the Constitution.

                      1)     Contemporaneous dictionary definitions

        “[T]he enlightened patriots who framed our constitution, and the people who

  adopted it, must be understood to have employed words in their natural sense, and to

  have intended what they have said.” Gibbons v. Ogden, 22 U.S. (9 Wheat.) 1, 188




                                             87
Appellate Case: 18-1173     Document: 010110215652       Date Filed: 08/20/2019    Page: 92



  (1824). Therefore, we look to contemporaneous dictionaries to understand the

  meanings of the words used in the Constitution.24

        Dictionaries from the relevant period support Mr. Baca’s contention that the

  drafters of the Twelfth Amendment intended electors to exercise discretion in casting

  their votes for President and Vice President. At the time of the Twelfth Amendment,

  the term “elector” was defined as “[h]e that has a vote in the choice of any officer,” 1

  Samuel Johnson, A Dictionary of the English Language (London, 6th ed. 1785); “[a]

  chuser,” Nathan Bailey, A Universal Etymological English Dictionary (London,

  1763); and “[o]ne who chooses, one who has a vote in the choice of any public

  officer,” 1 John Ash, The New and Complete Dictionary of the English Language

  (1795); see also Thomas Dyche & William Pardon, A New General English

  Dictionary (11th ed. 1760) (defining elector as “a person who has a right to elect or

  choose a person into an office”); Noah Webster, A Compendious Dictionary of the

  English Language (1806) (defining elector as “one who elects,” and elect as “to

  choose, select for favor, prefer”).



        24
           For the period of 1750–1800, the following four dictionaries are considered
  “the most useful and authoritative for the English language”: Samuel Johnson, A
  Dictionary of the English Language; Nathan Bailey, A Universal Etymological
  English Dictionary; Thomas Dyche & William Pardon, A New General English
  Dictionary; and John Ash, The New and Complete Dictionary of the English
  Language. Scalia & Garner, Reading Law: The Interpretation of Legal Texts 419
  (2012). There are four additional dictionaries deemed the most relevant for the period
  of 1801–1850—dictionaries from 1806, 1818, 1828, and 1850. Id. at 420. Because
  the Twelfth Amendment was adopted in 1804, the only one of these relevant for our
  purposes is Noah Webster’s 1806 dictionary, A Compendious Dictionary of the
  English Language. Id.

                                             88
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019      Page: 93



        Similarly, the term “vote” was defined as “[s]uffrage; voice given and

  numbered,” 2 Samuel Johnson, A Dictionary of the English Language (London, 6th

  ed. 1785); “[v]oice, [a]dvice, or [o]pinion of a [m]atter in [d]ebate,” Nathan Bailey, A

  Universal Etymological English Dictionary (London, 1763); “to speak for or in

  behalf of any person or thing; also to chuse or elect a person into any office, by

  voting or speaking,” Thomas Dyche & William Pardon, A New General English

  Dictionary (11th ed. 1760); “[a] suffrage, a voice given and numbered, a

  determination of parliament”; “to chuse by suffrage; to give by a vote,” 2 John Ash,

  The New and Complete Dictionary of the English Language (1795); “to give or

  choose by votes,” and “a voice,” Noah Webster, A Compendious Dictionary of the

  English Language (1806). Correspondingly, “to vote” was defined as “[t]o chuse by

  suffrage; to determine by suffrage,” 2 Samuel Johnson, A Dictionary of the English

  Language (London, 6th ed. 1785), and “to give one’s [v]oice,” Nathan Bailey, A

  Universal Etymological English Dictionary (London, 1763).25

        And contemporary sources defined “ballot” as a mechanism for choosing or

  voting. See 1 Samuel Johnson, A Dictionary of the English Language (London, 6th

  ed. 1785) (defining “ballot” as “[a] little ball or ticket used in giving votes, being put



        25
           Suffrage was defined as “a [n]ote given at an [e]lection in favour of any
  [p]erson; [a]pprobation or [a]llowance in general,” Nathan Bailey, A Universal
  Etymological English Dictionary (London, 1763), and “[a] vote, a voice given in a
  controverted point,” 2 John Ash, The New and Complete Dictionary of the English
  Language (1795); see also 2 Samuel Johnson, A Dictionary of the English Language
  (London, 6th ed. 1785) (defining suffrage as “[v]ote; voice given in a controverted
  point”).

                                              89
Appellate Case: 18-1173      Document: 010110215652         Date Filed: 08/20/2019        Page: 94



  privately into a box or urn”); id. (defining “to ballot” as “[t]o choose by ballot, that

  is, by putting little balls or tickets, with particular marks, privately in a box; by

  counting which, it is known what is the result of the poll, without any discovery by

  whom each vote was given”); Nathan Bailey, A Universal Etymological English

  Dictionary (London, 1763) (defining “ballot” as “[a] little ball . . . used in giving of

  [v]otes”); 1 John Ash, The New and Complete Dictionary of the English Language

  (1795) (defining “ballot” as “[t]o choose by dropping a little ball or ticket into a box;

  to choose by holding up the hand”); Thomas Dyche & William Pardon, A New

  General English Dictionary (11th ed. 1760) (defining “ballot” as “to vote for, or

  chuse a person into an office, by means of little balls of several colours, which are

  put into a box privately, according to the inclination of the chuser or voter”); Noah

  Webster, A Compendious Dictionary of the English Language (1806) (defining

  “ballot” as “to choose or vote by ballot” and “a little ball, little ticket, chance, lot”).26

         As these sources reflect, the definitions of elector, vote, and ballot have a

  common theme: they all imply the right to make a choice or voice an individual

  opinion. We therefore agree with Mr. Baca that the use of these terms supports a

  determination that the electors, once appointed, are free to vote as they choose.27


         26
           The parties dispute whether the Constitution requires secret ballots. We need
  not resolve this dispute because the contemporaneous definitions show that ballots
  indicate a choice, regardless of whether that choice is published to others.
         27
           This freedom is not without constitutional limit. The presidential electors are
  bound by the constitutional directions regarding electors’ votes and by who may
  serve as President or Vice President. See U.S. Const. amend. XII (requiring electors


                                               90
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019      Page: 95



                       2)     Use of “elector” in the Constitution

         Mr. Baca also points to the use of the word “elector” elsewhere in the

  Constitution as support for his position that electors may vote freely. This approach

  is sound because, “[w]hen seeking to discern the meaning of a word in the

  Constitution, there is no better dictionary than the rest of the Constitution itself.”

  Ariz. State Legislature, 135 S. Ct. at 2680 (Roberts, C.J., dissenting); see also United

  States v. Verdugo-Urquidez, 494 U.S. 259, 265 (1990) (recognizing that when a term,

  such as “the people,” is being used as “a term of art employed in select parts of the

  Constitution,” that term should be given the same meaning in each context and

  contrasted with the use of other terms).

         The term “electors” is used in Article I of the federal Constitution. Members of

  the House of Representatives are “chosen every year by the people of the several

  states, and the Electors in each state shall have the qualifications requisite for

  Electors of the most numerous branch of the state legislature.” U.S. Const. art. I, § 2,

  cl. 1 (emphases added). The term “electors” as used there refers to the citizen voters

  who choose the persons who will represent them in the House of Representatives.

  The term “electors” is also used in the Seventeenth Amendment. Although Senators

  were “chosen by the legislature” of the state at the time of the founding, id. art. I, § 3,


  to vote for at least one candidate not from the elector’s state); id. art. II, § 1, cl. 5
  (mandating the President be a natural born citizen and at least thirty-five years old);
  id. amend. XIV, § 3 (prohibiting anyone from serving as President or Vice President
  who has taken an oath to support the Constitution and then “engaged in an
  insurrection or rebellion against the same”); id. amend. XXII, § 1 (limiting the
  President to two terms in office).

                                              91
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019       Page: 96



  cl. 1, the Seventeenth Amendment now requires Senators be “elected by the people”

  of the state, id. amend. XVII. As with the House of Representatives, Senate “electors

  in each state shall have the qualifications requisite for the electors of the most

  numerous branch of the state legislatures.” Id. (emphases added).

        It is beyond dispute that the “electors” under Article I, Section 2, Clause 1, and

  the Seventeenth Amendment exercise unfettered discretion in casting their vote at the

  ballot box.28 It is a “‘fundamental principle of our representative democracy,’

  embodied in the Constitution, that ‘the people should choose whom they please to

  govern them.’” U.S. Term Limits, 514 U.S. at 783 (quoting Powell v. McCormack,


        28
           The Supreme Court has upheld laws regulating this right as constitutional
  under the state’s authority to prescribe the time, place, and manner for holding
  elections for Senators and Representatives, provided by Article I, Section 4, Clause 1,
  where the laws

        regulated election procedures and did not even arguably impose any
        substantive qualification rendering a class of potential candidates
        ineligible for ballot position. They served the state interest in protecting
        the integrity and regularity of the election process, an interest
        independent of any attempt to evade the constitutional prohibition
        against the imposition of additional qualifications for service in
        Congress. And they did not involve measures that exclude candidates
        from the ballot without reference to the candidates’ support in the
        electoral process.

  U.S. Term Limits, 514 U.S. at 835.

         The Constitution does not delegate to the states the power to proscribe the
  time, place, and manner of electors casting their votes for President and Vice
  President. The Constitution assigns the responsibility of determining the time of
  voting to Congress, U.S. Const. art. I, § 1, cl. 4, and does not delegate to the states
  the power to set the place or manner of voting. Thus, the states have less—not
  more—power under the Twelfth Amendment than they do with respect to regulating
  the elections of Senators and Congresspersons.

                                             92
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 97



  395 U.S. 486, 547 (1969)). “The right to vote freely for the candidate of one’s choice

  is of the essence of a democratic society, and the restrictions on that right strike at the

  heart of representative government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964)

  (emphasis added). “Not only can th[e] right to vote [provided by Article I, Section 2]

  not be denied outright, it cannot, consistently with Article I, be destroyed by the

  alteration of ballots or diluted by stuffing of the ballot box.” Wesberry v. Sanders,

  376 U.S. 1, 17 (1964) (citation omitted).

         The freedom of choice we ascribe to congressional electors comports with the

  contemporaneous dictionary definitions of elector discussed above. And because we

  treat usage of a term consistently throughout the Constitution, Verdugo-Urquidez,

  494 U.S. at 265, the use of elector to describe both congressional and presidential

  electors lends significant support to our conclusion that the text of the Twelfth

  Amendment does not allow states to remove an elector and strike his vote for failing

  to honor a pledge to vote for the winner of the popular election. Instead, the Twelfth

  Amendment provides presidential electors the constitutional right to vote for the

  candidates of their choice for President and Vice President.

                                       *      *      *

         In summary, the text of the Constitution makes clear that states do not have the

  constitutional authority to interfere with presidential electors who exercise their

  constitutional right to vote for the President and Vice President candidates of their

  choice. The Tenth Amendment could not reserve to the states the power to bind or

  remove electors, because the electoral college was created by the federal


                                              93
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 98



  Constitution. Thus, if any such power exists, it must be delegated to the states by the

  Constitution. But Article II contains no such delegation. Nor can the states’

  appointment power be expanded to include the power to remove electors or nullify

  their votes. Unlike the President’s right to remove subordinate officers under his

  executive power and duty to take care that the laws and Constitution are faithfully

  executed, the states have no authority over the electors’ performance of their federal

  function to select the President and Vice President of the United States. And a close

  reading of Article II and the Twelfth Amendment reveals that the states’ delegated

  role is complete upon the appointment of state electors on the day designated by

  Congress. Once appointed, the Constitution ensures that electors are free to perform

  that federal function with discretion, as reflected in the Twelfth Amendment’s use of

  the terms “elector,” “vote,” and “ballot.” As we now discuss, this conclusion is

  further supported by the circumstances surrounding enactment of the Twelfth

  Amendment, as well as historical practices and sources.

  5.    Enactment of the Twelfth Amendment

        The historical impetus for enactment of the Twelfth Amendment provides

  additional support for our conclusion that presidential electors are free to exercise

  discretion in casting their votes. As noted, under Article II, Section 1, as originally

  written, “the electors of each state did not vote separately for President and

  Vice-President; each elector voted for two persons, without designating which office

  he wanted each person to fill.” Ray, 343 U.S. at 224 n.11. Under this system, “[i]f all

  electors of the predominant party voted for the same two men, the election would


                                             94
Appellate Case: 18-1173     Document: 010110215652        Date Filed: 08/20/2019     Page: 99



  result in a tie, and be thrown into the House, which might or might not be

  sympathetic to that party.” Id.

        This is exactly what happened in 1800. The electors’ vote resulted in

  seventy-three votes each for Thomas Jefferson and Aaron Burr, sixty-five votes for

  John Adams, sixty-four votes for Charles Pinckney, and one vote for John Jay. 10

  Annals of Cong. 1024 (1801). Because two individuals received votes that constitute

  a majority of the electors appointed, but tied for the number, it was up to the House

  of Representatives to choose one of the two as President. U.S. Const. art. II, § 1, cl.

  3. It took the House thirty-six rounds of voting to select Thomas Jefferson as

  President. 10 Annals of Cong. 1028 (1801).

        The 1796 election resulted in a different problem. Federalists urged their

  electors to support John Adams and Thomas Pinckney, while Anti-Federalists

  (Democratic-Republicans) urged support for Thomas Jefferson and Aaron Burr.

  Stephen J. Wayne, The Road to the White House 2016 6 (10th ed. 2016). But roughly

  forty percent of electors ignored this party guidance. John Ferling, Adams vs.

  Jefferson: The Tumultuous Election of 1800 166 (2004). Instead, many Federalist

  electors, mainly from New England, withheld votes from Thomas Pinckney to ensure

  that Thomas Pinckney did not receive the same number of votes as John Adams,

  thereby guaranteeing John Adams the Presidency. Wayne, supra, at 6. As a result of

  this plan, John Adams received seventy-one votes, while Thomas Pinckney received

  a mere fifty-nine votes. Id. But this plan backfired, in part, because Thomas Jefferson

  received sixty-eight votes, thereby finishing ahead of Thomas Pinckney. Id. The 1796


                                             95
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019    Page: 100



  electoral college vote consequently resulted in a President who, although disclaiming

  political affiliation, strongly favored Federalists, serving with a Vice President who

  was the leader of the opposing party. Id. As the Supreme Court has recognized, this

  created a “situation [that] was manifestly intolerable.” Ray, 343 U.S. at 224 n.11.

         “The Twelfth Amendment was brought about as the result of the difficulties

  caused by the procedure set up under [Article] II, [Section] 1.” Id. These difficulties

  are highlighted by the split-party presidency resulting from the 1796 election and the

  thirty-six rounds of voting it took for the House to resolve the 1800 election. But the

  historical context of the amendment also informs the present question.

         Interestingly, the 1796 election produced what is today considered an

  anomalous vote—Samuel Miles voted for Thomas Jefferson instead of John Adams.

  See Wayne, supra, at 6. Samuel Miles led a slate of fifteen Pennsylvania electors

  running on the Federalist “‘Federal and Republican’ ticket.” Jeffrey L. Pasley, The

  First Presidential Contest: 1796 and the Founding of American Democracy 360–61

  (2013). This slate of Federalist electors made one commitment: “approving of George

  Washington and his policies, the electors would ‘be expected to give their suffrages

  in favor of men who will probably continue the same system of wise and patriotic

  policy.’” Id. They made no specific commitment to John Adams, id., but it was

  largely understood that John Adams fit this bill, and Thomas Jefferson, a man of

  “very dissimilar politics” and a “firm Republican,” did not. Id. at 354.

         At the time of the 1796 election, Pennsylvania used a popular vote to select its

  presidential electors, but state law gave the governor only a short window in which to


                                             96
Appellate Case: 18-1173     Document: 010110215652          Date Filed: 08/20/2019    Page: 101



  certify the winners of the race, even if all votes had yet to be counted. Id. at 362–63.

  By the time that window closed in 1796, thirteen of the fifteen Jefferson electors had

  received the most votes but, because votes from Greene County had yet to be

  returned, Samuel Miles and Robert Coleman—two of the electors from the “‘Federal

  and Republican’ slate”—had eked out a victory. Id. at 363.

         Once the Greene County votes were received, it became clear that all fifteen

  Jefferson electors should have won in Pennsylvania. Id. The two excluded Jefferson

  electors went to Harrisburg and demanded to vote as presidential electors, but they

  were denied. Id. Yet, “[p]ressure ran high for all the electors to fulfill the will of the

  majority, and . . . Samuel Miles cracked and cast a Jefferson vote.” Id. This decision

  brought ire on Samuel Miles, with a critic in a Philadelphia newspaper writing,

  “What, do I chuse Samuel Miles to determine for me whether John Adams or Thomas

  Jefferson shall be President? No! I chuse him to act, not to think.” Wayne, supra, at

  6. The essence of the complaint was that Samuel Miles had violated the expectation

  that he would cast his vote for John Adams. Despite this experience, the Twelfth

  Amendment did nothing to prevent future faithless votes.

         Instead, the Twelfth Amendment changed only the balloting process, allowing

  electors to designate separately a vote for President and Vice President. Compare

  U.S. Const. art. II, § 1, cl. 3 (“The Electors shall . . . vote by ballot for two

  persons . . . .”), with id. amend. XII (“[The Electors] shall name in their ballots the

  person voted for as President, and in distinct ballots the person voted for as

  Vice-President . . . .” (emphasis added)). Important for our purposes, the Twelfth


                                               97
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019     Page: 102



  Amendment does not deviate from the original Constitution’s use of “elector,”

  “vote,” and “ballot.” Compare id. art. II, § 1, cl. 3 (“The Electors shall meet in their

  respective states, and vote by ballot for two persons, of whom one at least shall not

  be an inhabitant of the same state with themselves.”), with id. amend. XII (“The

  Electors shall meet in their respective states and vote by ballot for President and

  Vice-President, one of whom, at least, shall not be an inhabitant of the same state

  with themselves . . . .”). Nor does the Twelfth Amendment contain any language

  restricting the electors’ freedom of choice or delegating the power to impose such

  restrictions to the states. Thus, the historical context of the Twelfth Amendment

  supports our textual conclusion that states cannot interfere with the presidential

  electors’ votes and that presidential electors have the constitutional right to exercise

  discretion when casting those votes.

  6.     Historical Practices

         In granting the Department’s motion to dismiss under rule 12(b)(6), the district

  court emphasized the longstanding practice of electors binding themselves to and

  complying with the will of the people of the state. The Department takes a similar

  approach on appeal, emphasizing the longstanding practice of electors giving pledges

  to vote for specific candidates and the use of the short-form ballot which prints the

  names of the presidential and vice presidential candidates rather than the presidential

  electors. The Department argues these historical practices support its view that

  Colorado did not violate the Constitution by removing Mr. Baca. Again, we disagree.




                                             98
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019     Page: 103



         a.    Elector pledges

         It is true that a pledge requirement is consistent with longstanding practices.

  As the Supreme Court noted in Ray, there is a “long-continued practical

  interpretation of the constitutional propriety of an implied or oral pledge of his ballot

  by a candidate for elector as to his vote in the electoral college.” 343 U.S. at 229–30.

  And “[h]istory teaches that the electors were expected to support the party

  nominees.” Id. at 229. Review of presidential election results also shows that electors

  usually honor their pledges. Indeed, this consistency led states to omit the names of

  candidates for elector from the general ballot. Id. “Instead in one form or another [the

  states] allow a vote for the presidential candidate of the national conventions to be

  counted as a vote for his party’s nominees for the electoral college.” Id.

         Although we concur with the Department’s review of historical practice, we

  cannot agree that these practices dictate the result the Department seeks. First, and

  most importantly, the practices employed—even over a long period—cannot

  overcome the allocation of power in the Constitution. McPherson, 146 U.S. at 35–36.

  Second, there is an opposing historical practice at play: a history of anomalous votes,

  all of which have been counted by Congress. As discussed, the first vote cast in

  defiance of a pledge occurred in 1796—before the Twelfth Amendment was

  enacted—when Samuel Miles voted for Thomas Jefferson instead of John Adams,

  much to the displeasure of his Federalist contemporaries. But Elector Miles’s vote for

  Thomas Jefferson was listed and delivered to the Senate, where it was counted. 6

  Annals of Cong. 2096 (1797); FairVote, Faithless Electors,


                                             99
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019      Page: 104



  https://www.fairvote.org/faithless_electors (last visited Jan. 10, 2019). Since that first

  faithless vote, there have been approximately 166 additional anomalous votes listed,

  certified, delivered, and counted. FairVote, Faithless Electors,

  https://www.fairvote.org/faithless_electors (last visited Jan. 10, 2019).29

         Indeed, we are aware of no instance in which Congress has failed to count an

  anomalous vote, or in which a state—before Colorado—has attempted to remove an

  elector in the process of voting, or to nullify a faithless vote. And on only one

  occasion has Congress even debated whether an anomalous vote should be counted.

  In 1969, six Senators and thirty-seven Representatives objected to counting a vote

  from North Carolina because the elector voted for George Wallace for President and

  Curtis LeMay for Vice President, despite Richard Nixon and Spiro Agnew winning

  the popular vote in North Carolina. 115 Cong. Rec. 146 (1969). After significant

  debate, the House voted to reject the objection (and count the elector’s votes) by a

  margin of 228–170, id. at 170, and the Senate voted to reject the objection, by a count

  of 58-33, id. at 246.




         29
           FairVote does not list Mr. Nemanich as one of these anomalous votes.
  FairVote, Faithless Electors, https://www.fairvote.org/faithless_electors (last visited
  Jan. 10, 2019). But, according to the Second Amended Complaint, after becoming an
  elector, Mr. Nemanich executed a pledge to vote for Bernie Sanders for President.
  Mr. Nemanich was later required by the Department to take an oath stating that he
  would vote for Hillary Clinton. Although Mr. Nemanich complied with that later oath
  and voted for Hillary Clinton, he violated his initial pledge to vote for Bernie
  Sanders.


                                             100
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019    Page: 105



         In the most recent 2016 election, Congress counted thirteen anomalous votes

  from three states. Specifically, Congress counted presidential votes for Colin Powell

  (three from Washington),30 John Kasich (one from Texas), Ron Paul (one from

  Texas), Bernie Sanders (one from Hawaii), and Faith Spotted Eagle (one from

  Washington); and vice presidential votes for Elizabeth Warren (one from Hawaii and

  one from Washington), Maria Cantwell (one from Washington), Susan Collins (one

  from Washington), Carly Fiorina (one from Texas), and Winona LaDuke (one from

  Washington). 163 Cong. Rec. H189 (daily ed. Jan. 6, 2017). By counting those votes,

  Congress acted consistently with the treatment of every anomalous vote cast since the

  creation of the electoral college.

         This uninterrupted history of Congress counting every anomalous vote cast by

  an elector weighs against a conclusion that historical practices allow states to enforce

  elector pledges by removing faithless electors from office and nullifying their votes.

         b.    Short-form ballots

         The Department next points to the states’ historical practice of using

  short-form ballots as “incompatible with electors exercising independent discretion”

  because “[v]oters have no basis for judging the prospective electors’ qualifications or



         30
            The Washington Supreme Court recently upheld the imposition of fines
  against these faithless electors. In re Guerra, No. 95347-3, 2019 WL 2220430, at
  **2, 8 (Wash. May 23, 2019). Although we do not embrace the analysis of the
  majority opinion in In re Guerra, we also note that the issue before the Washington
  Supreme Court is materially different than the question presented here: Whether after
  voting in the electoral college has begun, the state may remove an elector and nullify
  his vote.

                                            101
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019     Page: 106



  trustworthiness, let alone uncovering their identities,” and “[a] voter . . .

  understandably believes that he or she is casting [his or her] ballot for actual

  presidential and vice-presidential candidates.” Dep’t’s Br. at 59. The Department’s

  position can be rephrased as a contention that because states have chosen, over time,

  to use a short-form ballot, thereby allowing voters to believe they are voting directly

  for presidential and vice presidential candidates, electors are now bound to make that

  misperception true. The Supreme Court has foreclosed such a conclusion.

         In McPherson, the Supreme Court considered a challenge to Michigan’s

  statute allowing for its presidential electors to be appointed by state districts. 146

  U.S. at 24–25. In upholding the law, the Court relied on the plenary power granted in

  the Constitution “to the state legislatures in the matter of the appointment of

  electors.” Id. at 35. The Court recognized that after the Constitution was ratified,

  states employed “various modes of choosing the electors,” such as “by the legislature

  itself on joint ballot; by the legislature through a concurrent vote of the two houses;

  by a vote of the people of a general ticket; . . . and in other ways.” Id. at 29. But it

  also acknowledged that “public opinion had gradually brought all states . . . to the

  pursuit of a uniform system of popular election by general ticket.” Id. at 36. Despite

  the shift to a uniform method of appointment, the Court upheld Michigan’s departure

  from that practice. The Court explained that the question was “not one of policy, but

  of power.” Id. at 35. And because “[t]he prescription of the written law cannot be

  overthrown because the states have laterally exercised, in a particular way, a power

  which they might have exercised in some other way,” id. at 36, the Court enforced


                                              102
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019     Page: 107



  the plenary power granted by the Constitution for the state to appoint its electors in

  “such Manner as the Legislature thereof may direct,” U.S. Const., art. II, § 1, cl. 2.

         The Court also rejected an argument that the states’ method of choosing

  electors by district would not have been constitutionally objectionable “if the

  operation of the electoral system had conformed to its original object and purpose,”

  but that it “had become so in view of the practical working of that system.”

  McPherson, 146 U.S. at 36. The Court concluded that the district method of choosing

  electors could not somehow become unconstitutional simply because presidential

  electors now conformed to the will of the states to register their votes consistently

  with the results of the state’s general election:

         Doubtless it was supposed that the electors would exercise a reasonable
         independence and fair judgment in the selection of the chief executive,
         but experience soon demonstrated that, whether chosen by the
         legislatures or by popular suffrage on general ticket or in districts, they
         were so chosen simply to register the will of the appointing power in
         respect of a particular candidate. In relation, then, to the independence
         of the electors, the original expectation may be said to have been
         frustrated. But we can perceive no reason for holding that the power
         confided to the states by the constitution has ceased to exist because the
         operation of the system has not fully realized the hopes of those by
         whom it was created. Still less can we recognize the doctrine that
         because the constitution has been found in the march of time
         sufficiently comprehensive to be applicable to conditions not within the
         minds of its framers, and not arising in their time, it may therefore be
         wrenched from the subjects expressly embraced within it, and amended
         by judicial decision without action by the designated organs in the mode
         by which alone amendments can be made.

  Id. (citations omitted) (emphases added). That is, the Court refused to depart from the

  language of the Constitution in the absence of a constitutional amendment codifying

  modern practices.


                                             103
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019     Page: 108



         Over a century later, the Court reaffirmed the decision in McPherson and

  emphasized that “[t]he individual citizen has no federal constitutional right to vote

  for electors for the President of the United States unless and until the state legislature

  chooses a statewide election as the means to implement its power to appoint members

  of the electoral college.” Bush, 531 U.S. at 104. And while “[h]istory has now

  favored the voter, and in each of the several States the citizens themselves vote for

  Presidential electors,” the State, “after granting the franchise in the special context of

  Article II, can take back the power to appoint electors.” Id. Bush, like McPherson,

  instructs that even long-practiced policies cannot limit the power granted by the

  Constitution.

         The same analysis is true in this case. “The question before us is not one of

  policy, but of power . . . .” McPherson, 146 U.S. at 35. “The prescription of the

  written law cannot be overthrown because the [electors] have laterally exercised, in a

  particular way, a power which they might have exercised in some other way.” Id. at

  36. Although most electors honor their pledges to vote for the winner of the popular

  election, that policy has not forfeited the power of electors generally to exercise

  discretion in voting for President and Vice President.31 Rather, as historical practice


         31
           The cases the district court and the Department rely upon that determined
  electors do not have independence (although not in the context of a constitutional
  challenge to restrictions) have all fallen within this same trap. See Spreckles v.
  Graham, 228 P. 1040, 1045 (Cal. 1924) (“It was originally supposed by the framers
  of our national Constitution that the electors would exercise an independent choice,
  based upon their individual judgment. But, in practice so long established as to be
  recognized as part of our unwritten law, they have been ‘selected under a moral


                                             104
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019   Page: 109



  shows, electors have strayed from their pledges throughout history and Congress has

  unfailingly counted those anomalous votes.

         For the foregoing reasons, historical practice of using short-form ballots and of

  most electors complying with their pledges do not undermine our conclusion that the

  state could not constitutionally remove Mr. Baca or strike his vote for refusing to

  comply with the demands of § 1-4-304(5).

  7.     Authoritative Sources

         The parties also rely on authoritative sources for their respective

  interpretations of Article II and the Twelfth Amendment, including the Federalist

  Papers and Justice Story’s Commentaries on the Constitution. As we now explain,

  these sources buttress our conclusion that the Constitution prohibits the state from

  removing presidential electors performing their federal function, even where the

  electors vote contrary to a state-imposed requirement.




  restraint to vote for some particular person who represented the preferences of the
  appointing power.’” (emphasis added) (citation omitted)); Thomas v. Cohen, 262
  N.Y.S. 320, 323–24 (N.Y. Sup. Ct. 1933) (“Does the United States Constitution
  require [electors] to vote as directed by the voters of their state? Confining yourself
  to the exact language to the instrument brings a negative answer to that question. We
  must inquire, however, if anything has happened since those constitutional provisions
  were written which might alter the apparent meaning.”).


                                            105
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019    Page: 110



         In the Federalist Papers,32 Alexander Hamilton explained the reasons for

  adopting the electoral college as the method for selecting the United States President:

                It was desirable, that the sense of the people should operate in the
         choice of the person to whom so important a trust [the presidency] was
         to be confided.[33] This end will be answered by committing the right of
         making it, not to any preestablished body, but to men chosen by the
         people for the special purpose, and at the particular conjuncture.

                It was equally desirable, that the immediate election should be
         made by men most capable of analyzing the qualities adapted to the
         station, and acting under circumstances favourable to deliberation, and
         to a judicious combination of all the reasons and inducements that were
         proper to govern their choice. A small number of persons, selected by
         their fellow citizens from the general mass, will be most likely to
         possess the information and discernment requisite to so complicated an
         investigation.

  The Federalist No. 68 (Alexander Hamilton) (George W. Carey & James McClellan

  eds., 2001) (emphases added).

         Federalist 68 also recognizes the desire that “every practicable obstacle should

  be opposed to cabal, intrigue, and corruption.” Id. “These most deadly adversaries of

  the republican government” would be “expected to make their approaches . . . chiefly

  from the desire in foreign powers to gain an improper ascendant in our councils.” Id.




         32
           The Federalist Papers are a collection of essays written by Alexander
  Hamilton, John Jay, and James Madison in support of ratification of the federal
  Constitution.
         33
           The Department attempts to use this first sentence to say that “Hamilton
  himself expressed contradictory positions on whether electors were to exercise
  discretion.” Dep’t’s Br. at 55–56. Federalist 68 cannot be read fairly to support this
  interpretation. When this sentence is put into context with the rest of the paragraph,
  Alexander Hamilton’s view that electors were selected to make an informed choice in
  selecting the President is apparent.

                                            106
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019     Page: 111



  But the electoral college “guarded against all danger of this sort,” by “not ma[king]

  the appointment of the president to depend on preexisting bodies of men, who might

  be tampered with beforehand to prostitute their votes,” and instead referring that

  decision “in the first instance to an immediate act of the people of America, to be

  exerted in the choice of persons for the temporary and sole purpose of making the

  appointment.” Id. (emphasis added). Further the Constitution “excluded from

  eligibility to this trust [of serving as an elector], all those who from situation might

  be suspected of too great devotion to the president in office,” by prohibiting senators,

  representatives, and others holding a place of trust or profit under the United States

  from serving in the elector role. Id. As a result, “the immediate agents in the election

  will at least enter upon the task free from any sinister bias. Their transient existence,

  and their detached situation, already noticed, afford a satisfactory prospect of their

  continuing so, to the conclusion of it.” Id. (emphases added). Moreover, the President

  will be “independent for his continuance in office, on all but the people themselves,”

  because the President’s re-election “depend[s] on a special body of representatives,

  deputed by the society for the single purpose of making the important choice.” Id.

  (emphasis added).

         There can be little doubt in reading Federalist 68 that Alexander Hamilton

  understood the Constitution to entrust the selection of the President to “a small

  number of persons” selected for their ability to “analyz[e] the qualities adapted to the

  station” of President. Id. These electors were to act “under circumstances favorable to

  deliberation” and to judiciously consider “all the reasons and inducements that were


                                             107
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019    Page: 112



  proper to govern their choice.” Id. The electors were to be selected based on their

  possession of the “information and discernment requisite to so complicated an

  investigation.” Id. And the appointment of President was “to be exerted in the choice

  of persons for the temporary and sole purpose of making the appointment.” Id.

  Simply put, Federalist 68 cannot be read to require the electors to vote according to

  the dictates of a “preestablished body.” Id. Instead, Federalist 68 makes clear the

  decision was to be made by electors with a “transient existence” and a “detached

  situation,” to guard against the appointment being made by “bodies of men, who

  might be tampered with beforehand to prostitute their votes.” Id.

         This reading of Federalist 68 is consistent with Hamilton’s discussion of the

  “dissimilar modes of constituting the several component parts of the government.”

  The Federalist No. 60 (Alexander Hamilton) (George W. Carey & James McClellan

  eds., 2001). In Federalist 60, Hamilton explains that “[t]he house of representatives

  being to be elected immediately by the people; the senate by the state legislatures; the

  President by electors chosen for that purpose by the people; there would be little

  probability of a common interest to cement these different branches in a predilection

  for any particular class of electors.” Id. Although at that time the Senate was selected

  by the “state legislatures,” Hamilton noted that the method for selecting the President

  was different—“by electors chosen for that purpose by the people.” Id. It is obvious

  from Federalist 60 that Alexander Hamilton did not anticipate that state legislatures

  would elect the President by bound proxies.




                                            108
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019     Page: 113



         John Jay expressed a similar view that “the president [is] to be chosen by

  select bodies of electors, to be deputed by the people for that express purpose.” The

  Federalist No. 64 (John Jay) (George W. Carey & James McClellan eds., 2001). “As

  the select assemblies for choosing the president . . . will, in general, be composed of

  the most enlightened and respectable citizens, there is reason to presume, that their

  attention and their votes be directed to those men only who have become the most

  distinguished by their abilities and virtue, and in whom the people perceive just

  grounds for confidence.” Id. As with the view expressed by Hamilton in Federalist

  68, Jay’s discussion in Federalist 64 is consistent with “enlightened and respectable”

  electors expected to direct their votes to the most distinguished and worthy

  candidates for President.

         In short, the Federalist Papers are inconsistent with the Department’s argument

  that the electors are mere functionaries who can vote only for the candidate dictated

  by the state. Instead, these contemporaneous interpretations of the federal

  Constitution support the conclusion that the presidential electors were to vote

  according to their best judgment and discernment.

         Contrary to the Department’s characterization, Justice Story expressed similar

  views in his Commentaries on the Constitution:34


         34
           Although Justice Story wrote almost thirty years after adoption of the
  Twelfth Amendment, his Commentaries on the United States Constitution have been
  relied on by the Supreme Court as informative on issues of constitutional
  interpretation. See, e.g., District of Columbia v. Heller, 554 U.S. 570, 607 (2008)
  (Second Amendment); Clinton v. Jones, 520 U.S. 681, 714 (1997) (Presidential
  immunity); U.S. Term Limits, 514 U.S. at 799 (Article I).

                                            109
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019    Page: 114



         It has been observed with much point, that in no respect have the
         enlarged and liberal views of the framers of the constitution, and the
         expectations of the public, when it was adopted, been so completely
         frustrated, as in the practical operation of the system, so far as relates
         to the independence of the electors in the electoral colleges. It is
         notorious, that the electors are now chosen wholly with reference to
         particular candidates, and are silently pledged to vote for them. Nay,
         upon some occasions the electors publicly pledge themselves to vote for
         a particular person; and thus, in effect, the whole foundation of the
         system, so elaborately constructed, is subverted. The candidates for the
         presidency are selected and announced in each state long before the
         election; and an ardent canvass is maintained in the newspapers, in party
         meetings, and in the state legislatures, to secure votes for the favourite
         candidate, and to defeat his opponents. Nay, the state legislatures often
         become the nominating body, acting in their official capacities, and
         recommending by solemn resolves their own candidate to the other
         states. So, that nothing is left to the electors after their choice, but to
         register votes, which are already pledged; and an exercise of an
         independent judgment would be treated, as a political usurpation,
         dishonourable to the individual, and a fraud upon his constituents.

  3 Joseph L. Story, Commentaries on the Constitution of the United States § 1457

  (1833) (emphases added) (footnote omitted).

         The Department relies on this Commentary to argue that presidential electors

  acting independently would be a “political usurpation” and a “fraud upon [their]

  constituents.” Dep’t’s Br. at 58. But this interpretation does not withstand careful

  scrutiny. Justice Story begins his commentary with the recognition that the framers

  and the public expected electors to act independently at the time the Constitution was

  adopted. He then acknowledges that this expectation has been frustrated by “the

  practical operation of the system.” 3 Story § 1457 (emphasis added). But nothing in

  the commentaries suggests Justice Story approves of the practice or that such

  practices could constrict the power granted by the Constitution. Rather than



                                            110
Appellate Case: 18-1173     Document: 010110215652          Date Filed: 08/20/2019    Page: 115



  applauding the system of public and private pledges that had become common,

  Justice Story criticized it as frustrating the expectations of the framers and the public.

  And, as discussed, “[t]he question before us is not one of policy, but of power.”

  McPherson, 146 U.S. at 35. “The prescription of the written law cannot be

  overthrown because the [electors] have laterally exercised, in a particular way, a

  power which they might have exercised in some other way.” Id. at 36. Thus, while

  Justice Story’s Commentaries acknowledge the prevalence of pledges, they also

  affirm our interpretation of the constitutional text.

         Mr. Baca and the amicus briefs filed in support of his position also cite

  numerous contemporaneous statements showing that the framers and early

  Congressmen (including those involved in passing the Twelfth Amendment) believed

  presidential electors were to act with discretion. In response, the Department alleges

  that “[t]he historical record . . . reveals, at best, an inconsistent and largely

  conflicting paper trail of opinions by the Framers regarding the electors’ proper

  roles.” Dep’t’s Br. at 56. But the Department has failed to point to any

  contemporaneous source that contradicts an understanding of elector discretion—

  except the inaccurate portrayals of Federalist Number 68 and Justice Story’s

  Commentaries we reject above. Instead, the Department relies on modern sources for

  its proposition. While it is true that the states now almost uniformly require electors

  to pledge their votes to the winners of the popular election, that does not speak to the




                                              111
Appellate Case: 18-1173    Document: 010110215652        Date Filed: 08/20/2019     Page: 116



  states’ ability to enforce those pledges after voting has begun by removing the elector

  and nullifying his vote.35

         Contemporaneous authoritative sources—mainly in the form of the Federalist

  Papers and Justice Story’s Commentaries—support our reading of the Constitution as

  providing the electors the discretion to vote for the presidential candidate of their

  choice. They therefore support our conclusion that the Constitution does not grant to

  the states the power to remove electors who vote independently, despite the electors’

  pledge to cast their votes for the winners of the popular election. Because voting as

  an elector is a federal function, Burroughs, 290 U.S. at 544, similar to the “function

  of a state Legislature in ratifying a proposed amendment to the federal

  Constitution, . . . it transcends any limitations sought to be imposed by the people of

  a state.” Leser, 258 U.S. at 137.

                                       *      *      *

         Article II and the Twelfth Amendment provide presidential electors the right to

  cast a vote for President and Vice President with discretion.36 And the state does not

  possess countervailing authority to remove an elector and to cancel his vote in


         35
           The Department also relies on arguments that several of the founding fathers
  “advocated for direct popular election of the President.” Dep’t’s Br. at 55. But, as is
  obvious from the text of Article II and the Twelfth Amendment, that position did not
  prevail. See U.S. Const. amend. XII.
         36
            “After pinpointing [the specific constitutional right at issue], courts still
  must determine the elements of, and rules associated with, an action seeking damages
  for its violation.” Manuel v. City of Joliet, III., 137 S. Ct. 911, 920 (2017). The
  parties have not addressed this issue in their briefs, and we leave it to the district
  court to resolve the unaddressed aspects of Mr. Baca’s claim on remand.

                                            112
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019     Page: 117



  response to the exercise of that Constitutional right. The electoral college did not

  exist before ratification of the federal Constitution, and thus the states could reserve

  no rights related to it under the Tenth Amendment. Rather, the states possess only the

  rights expressly delegated to them in Article II and the Twelfth Amendment. Those

  constitutional provisions grant states the plenary power to appoint its electors. But

  once that appointment process is concluded, the Constitution identifies no further

  involvement by the states in the selection of the President and Vice President. And

  the states’ power to appoint, without any duty to take care that the electors perform

  their federal function faithfully, does not include the power to remove. The

  Constitution provides a detailed list of procedures that must be performed by specific

  actors—not including the states—after appointment. The electors must list all votes

  cast for President and Vice President, certify that list, and send it to the President of

  the Senate. Even where an elector violates a state-required pledge to vote for the

  winners of the state popular election, there is nothing in the federal Constitution that

  allows the state to remove that elector or to nullify his votes. And in the absence of

  such express authority, the states may not interfere with the electors’ exercise of

  discretion in voting for President and Vice President by removing the elector and

  nullifying his vote. Neither historical practices nor authoritative sources alter our

  conclusion.

         Secretary Williams impermissibly interfered with Mr. Baca’s exercise of his

  right to vote as a presidential elector. Specifically, Secretary Williams acted

  unconstitutionally by removing Mr. Baca and nullifying his vote for failing to comply


                                             113
Appellate Case: 18-1173   Document: 010110215652        Date Filed: 08/20/2019    Page: 118



  with the vote binding provision in § 1-4-304(5). Mr. Baca has therefore stated a claim

  for relief on the merits, entitling him to nominal damages.

                                 VI.    CONCLUSION

         For the foregoing reasons, we AFFIRM the district court’s dismissal of

  Ms. Baca’s and Mr. Nemanich’s claims under rule 12(b)(1) for lack of standing. But

  we REVERSE the district court’s dismissal of Mr. Baca’s claim under both rule

  12(b)(1) and rule 12(b)(6). Therefore, we REMAND to the district court for further

  proceedings consistent with this opinion.




                                              114
Appellate Case: 18-1173     Document: 010110215652           Date Filed: 08/20/2019       Page: 119



  No. 18-1173, Baca v. Colorado Department of State
  BRISCOE, Circuit Judge, dissenting.

         While the majority has presented a thorough analysis in support of its ruling, I

  would not reach the merits of the issues presented but would instead conclude that this

  case is moot.1 The Presidential Electors sued the Department under 42 U.S.C. § 1983.

  App. at 17–19. They seek nominal damages, a declaration that Colorado Revised Statute

  § 1-4-304(5) is unconstitutional, and a finding that their constitutional rights were

  violated. Id. at 19. As the majority explains, the Presidential Electors lack standing to

  pursue prospective relief. See Maj. Op. at 22–24. But an award of damages is

  retrospective relief, and “we consider declaratory relief retrospective to the extent that it

  is intertwined with a claim for monetary damages that requires us to declare whether a

  past constitutional violation occurred.” PeTA v. Rasmussen, 298 F.3d 1198, 1202–03 &

  n.2 (10th Cir. 2002). Therefore, the question is whether the retrospective relief sought

  can sustain this case. I would conclude that it cannot because “a State is not a ‘person’

  against whom a § 1983 claim for monetary damages might be asserted.”2 Lapides v. Bd.

  of Regents, 535 U.S. 613, 617 (2002).


         1
           “We can raise issues of standing and mootness sua sponte because we ‘have an
  independent obligation to determine whether subject-matter jurisdiction exists, even in
  the absence of a challenge from any party.’” Collins v. Daniels, 916 F.3d 1302, 1314
  (10th Cir. 2019) (quoting Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006)). As
  discussed in the majority opinion, we requested supplemental briefing on mootness. Maj.
  Op. at 8.
         2
           Without an award of nominal damages, a retrospective declaration that the
  Presidential Electors’ rights were violated “would amount to nothing more than a
  declaration that [they] w[ere] wronged.” Green v. Branson, 108 F.3d 1296, 1300 (10th
  Cir. 1997). “[I]n the context of an action for declaratory relief, a plaintiff must be
Appellate Case: 18-1173      Document: 010110215652          Date Filed: 08/20/2019       Page: 120



         “Under settled law, we may dismiss th[is] case [as moot] . . . only if ‘it is

  impossible for a court to grant any effectual relief whatever’ to [the Presidential Electors]

  assuming [they] prevail[].” Mission Prod. Holdings, Inc. v. Tempnology, LLC, 139 S. Ct.

  1652, 1660 (2019) (quoting Chafin v. Chafin, 568 U.S. 165, 172 (2013)). “[A] claim for

  money damages . . . . , if at all plausible, ensure[s] a live controversy.” Id. “If there is

  any chance of money changing hands, [the] suit remains live.” Id.

         No such chance exists. Section “1983 creates no remedy against a State.”

  Arizonans for Official English v. Arizona, 520 U.S. 43, 69 (1997); see also Will v. Mich.

  Dep’t of State Police, 491 U.S. 58, 64 (1989) (“[A] State is not a person within the

  meaning of § 1983.”). By suing the Department, the Presidential Electors have sued the

  state of Colorado. Ross v. Bd. of Regents, 599 F.3d 1114, 1117 (10th Cir. 2010)

  (explaining that state agencies, as arms of the state, are not persons under § 1983).

  Therefore, § 1983 affords the Presidential Electors “no remedy against” the Department.

  Arizonans, 520 U.S. at 69.

         Absent a plausible claim for nominal damages, this case is moot. Id. (claim for

  nominal damages in § 1983 suit against state was not “sufficient to overcome mootness

  [because the claim] was nonexistent”); Lankford v. City of Hobart, 73 F.3d 283, 288

  (10th Cir. 1996) (“[T]he lack of an appropriate remedy moots [the plaintiffs’] claims for

  relief[ under Title VII]. . . . [B]ecause no legal remedies are available to plaintiffs a


  seeking more than a retrospective opinion that he was wrongly harmed by the defendant.”
  Jordan v. Sosa, 654 F.3d 1012, 1025 (10th Cir. 2011). Therefore, whether this case is
  moot depends on whether the Presidential Electors can plausibly recover nominal
  damages.
                                                 2
Appellate Case: 18-1173      Document: 010110215652           Date Filed: 08/20/2019       Page: 121



  verdict in their favor would do little more than provide them with emotional

  satisfaction.”).3 Because we can grant no relief, this case presents “an abstract dispute

  about the law, unlikely to affect these plaintiffs any more than it affects other . . . citizens.

  And a dispute solely about the meaning of a law . . . falls outside the scope of the




         3
           The majority concludes that “we may not consider the merits of the personhood
  argument because the mootness inquiry ‘in no way depends on the merits of the
  plaintiff’s contention.’” Maj. Op. at 51 (quoting Keller Tank Servs. II, Inc. v. Comm’r,
  854 F.3d 1178, 1194 (10th Cir. 2017)). At the pleading stage, a plaintiff must invoke our
  power to adjudicate a case by sufficiently alleging the prerequisites to subject-matter
  jurisdiction. See Shapiro v. McManus, 136 S. Ct. 450, 455 (2015) (“[A plaintiff] fail[s]
  to raise a substantial federal question for jurisdictional purposes [when his claim is] . . .
  ‘wholly insubstantial and frivolous.’” (quoting Bell v. Hood, 327 U.S. 678, 682–83
  (1946)); Memphis Light, Gas & Water Div. v. Craft, 436 U.S. 1, 8–9 (1978) (implying
  that a “claim for damages [that] . . . is . . . so insubstantial or so clearly foreclosed by
  prior decisions” would not “save[ a] ca[se] from the bar of mootness”). Because the
  Presidential Electors have sued the Department under § 1983, the availability of nominal
  damages is clearly foreclosed by Lapides, Arizonans, and Will. It is therefore appropriate
  to consider the “personhood argument” in relation to mootness. See Arizonans, 520 U.S.
  at 69; Memphis Light, 436 U.S. at 8–9.
          Other courts have similarly concluded that a futile claim for damages cannot
  sustain an otherwise moot case. Int’l Bhd. of Teamsters, Local Union No. 639 v. Airgas,
  Inc., 885 F.3d 230, 237 (4th Cir. 2018) (claim for damages did not prevent mootness
  because there was no “possibility of damages”); Tanner Advert. Grp. v. Fayette Cty., 451
  F.3d 777, 786 (11th Cir. 2006) (en banc) (“A request for damages that is barred as a
  matter of law cannot save a case from mootness.”); Johnson v. City of Shorewood, 360
  F.3d 810, 816 (8th Cir. 2004) (reasoning that a “claim would be moot because [a court]
  could not grant the relief the [plaintiffs] s[ought]”); Gottfried v. Med. Planning Servs.,
  Inc., 280 F.3d 684, 691 (6th Cir. 2002) (“[A] key question [in the mootness inquiry] . . .
  is whether [the plaintiff] has a viable claim for damages.”); see also Nat’l Iranian Oil Co.
  v. Mapco Int’l, Inc., 983 F.2d 485, 490 (3d Cir. 1992) (“A claim for money damages is
  moot only if it will never be possible for the defendant to provide any relief.”); 13C
  Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 3533.3 (3d
  ed. 2019) (“[I]f other relief is sought and has become moot, it is appropriate to dismiss
  the action as moot, without deciding the merits of the claimed wrong, if damages are not
  legally available for that wrong or the defendant is immune.”).
                                                 3
Appellate Case: 18-1173     Document: 010110215652          Date Filed: 08/20/2019      Page: 122



  constitutional words ‘Cases’ and ‘Controversies.’” Alvarez v. Smith, 558 U.S. 87, 93

  (2009).

         It makes no difference that the Department has waived Eleventh Amendment

  sovereign immunity. Supp. App. at 116. “The barrier [to recovering nominal damages

  i]s not . . . Eleventh Amendment immunity, which the State could waive. The stopper

  [i]s that § 1983 creates no remedy against a State.” Arizonans, 520 U.S. at 69; see also

  Will, 491 U.S. at 85 (Brennan, J., dissenting) (“If states are not ‘persons’ within the

  meaning of § 1983, then they may not be sued under that statute regardless of whether

  they have consented to suit.”).

         Nor can the Department save this case from mootness by waiving “the argument

  that it is not a ‘person’ under § 1983.” Supp. Br. at 1; see Estate of Harshman v. Jackson

  Hole Mountain Resort Corp., 379 F.3d 1161, 1164 (10th Cir. 2004) (“[I]t is well

  established that the parties may not by stipulation invoke the judicial power of the United

  States in litigation which does not present an actual ‘case or controversy.’” (quotation

  marks omitted)). The majority concludes that “Mr. Baca may prevail on his claim and be

  entitled to nominal damages” because “the Department . . . has expressly waived the

  argument that it is not a person under § 1983.”4 Maj. Op. at 49–50. We may not


         4
            I would not entertain the parties’ attempt to rewrite the Presidential Electors’
  pleadings on the fly. The parties urge us to overlook the Presidential Electors’ deficient
  pleadings because “any alleged defect is a technicality in the purest sense: it does not
  affect, in any way, the substantive ability of [the Presidential Electors] to bring an
  identical legal claim . . . . against the former Secretary in his individual capacity.” Supp.
  Br. at 17. In the parties’ eyes, “[s]uch a case would be, in every respect, identical to that
  here.” Id. A claim against the former Secretary in his individual capacity is not identical
  to a claim against the Department; they are different defendants. The Secretary, sued in
                                                4
Appellate Case: 18-1173     Document: 010110215652           Date Filed: 08/20/2019   Page: 123



  “recognize a cause of action that Congress has denied.” Lexmark Int’l, Inc. v. Static

  Control Components, Inc., 572 U.S. 118, 128 (2014). “Section 1983 provides a federal

  forum to remedy many deprivations of civil liberties, but it does not provide a federal

  forum for litigants who seek a remedy against a State for alleged deprivations of civil

  liberties.” Will, 491 U.S. at 66. The parties cannot “circumvent congressional intent by”

  agreeing to waive an element of the Presidential Electors’ § 1983 claim. See id. at 71.

  Moreover, we are not bound to follow “a rule of law whose nonexistence is apparent on

  the face of things, simply because the parties agree upon it.” U.S. Nat’l Bank of Or. v.

  Indep. Ins. Agents of Am., Inc., 508 U.S. 439, 447 (1993) (quotation marks omitted); see

  also O’Connor v. City & Cty. of Denver, 894 F.2d 1210, 1226 (10th Cir. 1990) (“[A]

  party may not compel a court to decide a constitutional argument, especially one of some

  difficulty, by stipulation.” (quotation marks omitted)).

         The majority distinguishes this case from Arizonans by explaining that, in

  Arizonans, “it was not the failure of the improvised nominal-damages claim under § 1983

  that mooted the case; it was [the plaintiff]’s departure from state employment.” Maj. Op.

  at 47. I understand the holding in Arizonans to turn on whether the plaintiff could obtain

  prospective or retrospective relief. Even without the claim for prospective relief (which


  his individual capacity, is a person. The Department is an arm of the state of Colorado.
  Only one can be sued under § 1983. Will, 491 U.S. at 64. The Presidential Electors
  initially sued the former Secretary in his individual capacity. See Dist. Ct. Dkt. No. 30 at
  1. But then the parties agreed to amend the pleadings by substituting the Department for
  the former Secretary. Id. The parties intended to “streamlin[e] this case and postur[e]
  their claims and defenses in a way that w[ould] lead to a ruling that provides guidance for
  the 2020 presidential election.” Id. At that time, the parties understood that they had
  “restructure[ed] the case in a significant way.” Id.
                                               5
Appellate Case: 18-1173     Document: 010110215652         Date Filed: 08/20/2019       Page: 124



  was unavailable because the plaintiff no longer worked for the state), the case would not

  have been moot if the plaintiff could obtain nominal damages. Utah Animal Rights Coal.

  v. Salt Lake City Corp., 371 F.3d 1248, 1257 (10th Cir. 2004). But the plaintiff’s claim

  for nominal damages was futile because the defendant was a state. Arizonans, 520 U.S.

  at 69. Therefore, neither prospective nor retrospective relief was available. Id. at 68–71.

  As in Arizonans, the Presidential Electors cannot obtain a prospective declaratory

  judgment. All that is left is their claim for nominal damages and the attendant

  retrospective declaratory relief. Because the Presidential Electors have sued a state, their

  claim for nominal damages is futile. See id. at 69. Therefore, the outcome here should

  be the same as in Arizonans.

         The majority also concludes that “Arizonans does not teach that any claim for

  damages against a state pursuant to § 1983 is moot; it stands for the narrower proposition

  that a last-minute claim for legally unavailable relief cannot overcome certain mootness.”

  Maj. Op. at 48. I disagree. Arizonans did more than discuss the timeliness of the

  nominal damages claim. 520 U.S. at 68, 71. Before encouraging “close inspection” of “a

  claim for nominal damages, extracted late in the day . . . and asserted solely to avoid

  otherwise certain mootness,” id. at 71, the Court explained that “§ 1983 creates no

  remedy against a State,” id. at 69. The Court’s discussion of whether “§ 1983 actions . . .

  lie against a State” would be unnecessary if Arizonans was only a case about when a

  plaintiff has delayed too long in raising a claim for nominal damages “to overcome

  mootness.” Id. Nor do I think the timeliness is the most relevant consideration; a futile



                                               6
Appellate Case: 18-1173    Document: 010110215652         Date Filed: 08/20/2019     Page: 125



  claim for damages prevents us from granting relief regardless of when the claim was

  raised by a plaintiff.

         Because we cannot grant relief to the Presidential Electors, I would dismiss the

  appeal as moot.




                                              7
